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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MICHAEL DARDASHTIAN, individually and
on behalf of COOPER SQUARE VENTURES, LLC
NDAP, LLC and CHANNEL REPLY, Civil Case No.: 1:17 Civ.4327 (LLS)(RWL)

Plaintiff(s),
-against-

DAVID GITMAN, ACCEL COMMERCE, LLC,
DALVA VENTURES, LLC, KONSTANTYN
BAGAIEV, OLESKIT GLUKHAREV
and CHANNEL REPLY, INC.,

Defendant(s).

DAVID GITMAN, individually, and on behalf of
COOPER SQUARE VENTURES, LLC, and

NDAP, LLC,
Counterclaim-Plaintiff(s),
-against-
MICHAEL DARDASHTIAN,

Counterclaim Defendant(s).

 

 

RESPONSE TO PLAINTIFES’/COUNTERCLAIM-DEFENDANT(S)’ REQUEST FOR
DOCUMENTS/INFORMATION

Defendants, DAVID GITMAN, ACCEL COMMERCE, LLC, DALVA VENTURES, LLC
and CHANNEL REPLY, INC., (hereinafter, “Defendants/Counterclaim-Plaintiffs”), in the
above-captioned action, by and through their undersigned counsel, Sang J. Sim, Esq., of Sim &
DePaola, LLP, respond to Plaintiffs’ (hereinafter “P laintiffs/Counterclaim-Defendant(s)”)
Request for Documents/Information dated May 11, 2020 upon information and belief as follows.
These disclosures are based on information reasonably available to Defendants/Counterclaim-
Plaintiffs as of the date of service of these disclosures. Defendants/Counterclaim-Plaintiffs
reserve the right to revise, correct, modify, supplement, or clarify these disclosures at any time

before the close of discovery.
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GENERAL OBJECTIONS AND RESPONSES

Defendants/Counterclaim-Plaintiffs object generally to the Request for Documents/Information

for the reasons set forth below:

Defendants/Counterclaim-Plaintiffs object to the extent that it seeks documents which are
protected by the attorney/client privilege or the attorney work product doctrine.
Defendants/Counterclaim-Plaintiffs object to the extent that it seeks documents, which are
overly broad and unlimited as to time and scope as to be an unwarranted annoyance and
burdensome and oppressive. To comply with the request would be an undue burden and
expense on the Defendants/Counterclaim-Plaintiffs.

Defendants/Counterclaim-Plaintiffs object to the extent that it seeks documents, which are
not relevant to the subject matter of this action and not calculated to lead to the discovery
of admissible evidence in violation of collateral source rules.
Defendants/Counterclaim-Plaintiffs object to the extent that it seeks documents, which are
equally available to the propounding party.

Defendants/Counterclaim-Plaintiffs object to the extent that it seeks documents, which are
vague and ambiguous and thus, Defendants/Counterclaim-Plaintiffs are incapable of
determining what documents or information Plaintiffs/ Counterclaim-Defendant(s)
actually seek and thus, any responses will only lead to confusing, inaccurate and
incomplete responses.

Defendants/Counterclaim-Plaintiffs object to the extent that Plaintiffs/Counterclaim-
Defendant(s) seek documents, which are confidential and proprietary business and

personal information of Defendants/Counterclaim-Plaintiffs.
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G. _ Defendants/Counterclaim-Plaintiffs have made reasonable and good faith efforts to locate
documents or other information responsive to the demand but Defendants/Counterclaim-
Plaintiffs reserve the rights to supplement responses.

H. Defendants/Counterclaim-Plaintiffs object to the extent that Plaintiffs/Counterclaim-
Defendant(s) seek documents not within the possession, custody or control of
Defendants/Counterclaim-Plaintiffs.

L_ Defendants/Counterclaim-Plaintiffs object to the extent that Plaintiffs/Counterclaim-
Defendant(s) seek documents which are already in their possession, custody or control or
are publicly available documents that Plaintiffs/Counterclaim-Defendant(s) may obtain
easily.

J. Defendants/Counterclaim-Plaintiffs object to the extent Plaintiffs/Counterclaim-
Defendant(s) seek documents, which imposes additional requirements or discovery
obligations greater than permitted by FRCP.

K. Defendants/Counterclaim-Plaintiffs do not intend to waive any: (i) objections as to
materiality, admissibility, relevancy or competency; (ii) rights to object upon any grounds
during trial or any other actions; and (iii) objections as to any ambiguity or vagueness;
and (iv) objections to any further document requests or other discovery demands.

SPECIFIC RESPONSES AND OBJECTIONS

Without waiving any objections set forth in General Objections and Responses,

Defendants/Counterclaim-Plaintiffs respond as follows:

1. Produce a true copy of the Stock Plan Agreement presented by Mr. Gitman to Oleskii
Glukharev for Defendant Channel Reply, Inc.
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Response: None in Defendants/Counterclaim-Plaintiffs’ possession.
Defendants/Counterclaim-Plaintiffs reserve the right to amend and/or supplement this
response up to the close of discovery.

2. Produce the name(s) of all law enforcement personnel, including the name(s) of any and
all Assistant District Attorneys that Mr. Gitman communicated with regarding Michael
Dardashtian, at all times relevant herein through the present.

Response: Defendant DAVID GITMAN communicated with the following law
enforcement entities: Manhattan District Attorneys Office, Financial Frauds Bureau.
Nassau County District Attorneys Office, Financial Frauds Bureau.

3. Produce all “packages of documents” that Mr. Gitman provided to Assistant District
Attorneys in connection with request #2, above.

Response: None in Defendants/Counterclaim-Plaintiffs’ possession.
Defendants/Counterclaim-Plaintiffs reserve the right to amend and/or supplement this
response up to the close of discovery.

4. Produce the list of any and all customers that Mr. Gitman believes were allegedly taken
by Michael Dardashtian from Plaintiff ChannelReply to Yotpo.

Response: Customer list in Defendants/Counterclaim-Plaintiffs’ possession annexed
hereto.

5. Produce all documents and emails that Mr. Gitman contends he had to support that
Michael Dardashtian allegedly took customers from Plaintiff ChannelReply to Yotpo.
Response: None in Defendants/Counterclaim-Plaintiffs’ possession.
Defendants/Counterclaim-Plaintiffs reserve the right to amend and/or supplement this
response up to the close of discovery.

6. Produce all communications exchanged between Mr. Gitman and Konstantyn Bagaiev
via Skype or any other electronic format. At deposition, Mr. Gitman was shown
electronic messages between himself and Mr. Bagaiev in the same form that they were
contained in Mr. Gitman’s supplemental discovery production. Mr. Gitman stated at his
deposition, in substance, that the communications that he produced between himself and
Mr. Bagaiev were not complete.

Response: Skype communications in Defendants/Counterclaim-Plaintiffs’ possession

annexed hereto.
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10.

11.

12.

13.

Produce any and all documents regarding any accounting or financial summary prepared
by Mr. Gitman, or anyone on his behalf, regarding Plaintiff CSV, ChannelReply and/or
NDAP, at any time relevant herein through the present.

Response: Documents in Defendants/Counterclaim-Plaintiffs’ possession annexed.
hereto.

Produce true copies of all documents of any forensic accounting conducted by Mr.
Gitman, or anyone on his behalf, regarding Plaintiffs CSV, ChannelReply and/or NDAP,
at any time relevant herein through the present.

Response: Documents in Defendants/Counterclaim-Plaintiffs’ possession annexed
hereto.

Produce any proof that Mr. Gitman did not have complete access to Plaintiffs CSV,
NDAP or ChannelReply’s bank accounts or QuickBooks at any time relevant herein
through the present.

Response: Objection to the demand as vague, overbroad and unduly burdensome.
Produce any and all electronic recordings that Mr. Gitman made of Michael Dardashtian,
Judge Lehrburger, attorney, Court personnel, or any other third-party or non-party
relating to the within action.

Response: None in Defendants/Counterclaim-Plaintiffs’ possession.

Produce all documents reflecting the transmission of any recordings from Mr. Gitman to
Mr. Bagaiev in connection with request #10, above.

Response: None in Defendants/Counterclaim-Plaintiffs’ possession.

Produce any and all proof of disproportionate distributions, misappropriation, or theft
allegedly committed by Michael Dardashtian as it relates to Plaintiffs CSV,
ChannelReply and/or NDAP at any time relevant herein through the present.

Response: None in Defendants/Counterclaim-Plaintiffs’ possession.
Defendants/Counterclaim-Plaintiffs reserve the right to amend and/or supplement this
response up to the close of discovery.

Confirmation as to whether (646) 553-5918 was ever Mr. Gitman’s phone number.

Response: This number was not Mr. Gitman’s phone number.
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14. Produce a list of every business Mr. Gitman has formed or is an owner, member, partner,
shareholder, officer or director from 2011 through the present.

Response: Vodyssey; Cooper Square Ventures, LLC; NDAP DBA Car Part Kings;
Plumburs; ChannelReply Inc.; Dalva Ventures; Accel Commerce; Cue Connect;
MageMojo; Scalene Group; Null Partners.

15. Produce a list of every business referenced in request #14, above, where Mr. Gitman
shared confidential information of Plaintiffs CSV, ChannelReply and/or NDAP, whether
with or without the execution of non-disclosure agreements upon the dissemination of
same.

Response: None.

16. To the extent that any non-disclosure agreements were prepared in connection with
request #15, above, produce true copes of same.

Response: Objection to the demand as vague, overbroad and unduly burdensome as
Plaintiffs/Counterclaim-Defendant(s) do not specify the scope, subject matter or time

period of non-disclosure agreements. Notwithstanding said objections, none.

Dated: Bayside, New York
June 18, 2020

Yours truly,
SIM & DEPAOLA, LLP

By: /s/ Sang J. Sim
SANG J. SIM, ESQ.

SIM & DEPAOLA, LLP

Attorneys for Defendants
DAVID GITMAN, ACCEL
COMMERCE, LLC, DALVA
VENTURES, LLC

and CHANNEL REPLY, INC.

Attorneys for Counterclaim-Plaintiffs
DAVID GITMAN, individually

And on behalf of COOPER SQUARE
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TO:

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LIST OF CHANNEL REPLY
CUSTOMERS
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yloesge/e
vLOocigc/c
vLoc/gadic. 00’ L¥Pr$
vLocedic GLOZ/EL/E
VLOZ/OL/L
VLOS/L LL
PLOZ/L L/L
VLOCILL/L OO'LLLS
ELO2/SbL/eL LLOZ/9/9
ELOC/S L/S GSLOC/9/C
ELOC/GL/CL PLOZ/L/ZL
CLOZ/ZL/OL GLOc/SZ/9
CLOSE L/OL
ELOZ/EL/OL
ELOZ/EL/OL 00'062$
ELOZ/9Z/6
€L0Z/92/6
€02/9¢/6 oo'set'Ls
ELOZ/G LIE 9L02/02/2
CLOZ/GLIE VLOC/BL/CL
ELO2/SL/6 vLOd/e7z/oL
CLOZ/ZLIS
ELO?/EL/E
ELOZ/CL/E 00'7Z9$
CLOZ/ez/s
ELOZ/EZ/8
EL0z¢/6c/8 0O'bLL$
ELOZ/GLIL
SLOSS LIL GLOC/SL/S
ELOe/S biz OLOZ/SL/¢
ELOe/S L/L 9LOZ/B L/S
CLOciLesb
CLOZ/LEe/ 00°8z8s

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BANOV LLOC/6L/7

aaloy

BAY QLOZ/EL/0L

BAIOY OLOZ/EL/OL
payjeoueD GLOz/el/6

BANOY GLOZ/EU/S
BAY

ANY 9L07/8Z/6
aAHOY 910Z/8Z/6
paljaoueg 110Z/9/9
pallaoueg GLoz/g/z
paylsoueg pLOz/LiZt
palfeouen gL0z/SZ/9
SAO
any SLOZ/9Z/8
BAO QLOZ/SLI6
aAioy
OMIOY QLOZ/LIE
AANOY QLOZ/ZL/y
paleoueg 9LOZ/OZ/L
payeoueD PLOZ/aL/ZL
palfeoueg L0Z/ZZ/0b
anjoy
@AROW QLOZ/LZ/bL
OAH QLOZ/LZ/LL
anyoy
@AROW QLOZ/E/O}
aANOY QLOZ/E/Ol
paljsouea
pallsouen SLOZ/6L/Z
palleoUueg QLOZ/P/y
payleouen gLOz/z/v
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VLOZ/OE/ LL
pLoc/gz/bh
vLoded/tl
yLOc/ec/bb
VLOZ/ET/ LL
vLOZ/6L/LL
PLOZ/EL/LL
VLOZ/6L/LL
VLOC/GL/LL
PLOZ/Z/Lb
vLoe/e/bL
vLOc/Z/bL
vLOz/9c/0l
vLOZ/ec/ol
vLOcecz/0l
vLOZ/ec/OL
VLOZ/L/OL
PLOZIEIS
vLOZ/elé
VLOZ/0E/8
7LOZ/0E/8
VLOZ/Oe/8
vLOz/go/s
vLOd/vbiL
vloe/Zb/9
VLOeLL/9
VLOZ/ZL/9
VLOZ/LL/9
PLOZLL/9
PVLOZ/LL/O
vLOz/LL/9
vLOd/8clS
yLOZ/eL/S
vLOestL/s
PLOC/SL/IS
yLOz/s bly
VLOZ/BLiV
PLOc/cly
vLociciy
vLOZ/ge/e

GLO? 2/9
00'S6E$
00's68$
00'€Sz'1$
00'8z8$
LbLOe/L2/2
00'89¥%$
GLOZ/o/e
9L0%/L-2/01
OLOZv/LL
00'76e$
vLozec/ol
OLOZ/v/ch
LLOC/8/S
00'LyL$
Ob0z/0d/t
00's68$
vLOz/ez/0l
OLOZ/EL/9
LLOe/8 L/L
LLOC/LLIC
LLOZ/ELIP

payjaoueg SLOz/9L/9
annoy LLOZ/Pely
enoy
annoy LLOZ/EZ/t
BAO LLOZ/EZ/I
only
ao LLOZ/EL/Z
annoy LLOZ/ELZ
ano OLOZ/ZLZL
BAILY
DANO QL0Z/ZL/0}
BAO QLOT/TZHOL
paysoueg 1 L0Z/LZ/z
BAO
BANOW OLOZ/PTIT!
OA QLOZ/PeZ/Zl
peyjeoueg G10z/9/Z
pajaoueD 9LOZ/LZ/Ob
pajeoued 910Z/L-Z/Ol
eAloWy
aAoY QLOZ/LE/OL
OANOY QLOZ/LE/OL
payaoued %10Z/ZZ/0L
paljaoueg 9}0Z/81/6
anoy LLOZ/OE/E
paljeoues $10Z/9/S
@aHoy LLOZ/OE/E
ealoy
OAnoy LL0Z/6/Z
pajaoueg SLOZ/61/8
annow LL0Z/6/2
annoy
pasoueg pLOz/ZZ/0L
Baqoy
pajeoueg SLOZ/OZ/LL
payjeoueg 2102/81/1
payeoueg 2102/81/I
aanoy ZLOZ/P/L
payjeoueg 2L0Z/E/b
annoy ZL0Z/6L/r

 
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GLOZ/LZ/9
SLOU/+2/9
GLOe/L 2/9
SLOZ/O/S
GLOZ/S/S
GLOZ/O/S
GLOz/OcY
GLOZ/0c/¥
GLOZEL/T
GLOZ/EL/P
GLOde/p
SLOcia/7
SLOZ/8/F
GLOe/ecic
GLOZ/9L/E
GLOe/OL/e
SLOt/9bL/e
GLOZ/0e/L
GLO/LC/L
GLOT/LTIL
GLOU/LC/L
GLOZ/ZL/L
GLOLe/L
GLOC¢LEIL
GLOd/ZciL
GLOLe/L
GLOZLEIL
GLOZLCIL
GLOdILZC/L
GLOZLT/L
GLOLelt
GLO/LC/L
GLOZILESL
GLOZ/LC/L
VLOZ/6C/ZL
VLOC/EC/CL
vLOz/S/cL
pLOdsiel
PLOc/e/el
VLOZ/OE/LL

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LLOZ/EC/L
9LO/SZ/O1
GLOZ/EzIS

9L0Z/O¢/b

9LOC/6/9

SLO/OE/L
9LOd/ez/o
SLOC/OE/1

LLO/BLIE
9LOc/Ec/0L
QLO/S/L
SLOg/re/6
LZL02/8L/€
GL0z/9/¢

LLOCLIP
OLOZ/G/E |
QLOc/Lb/2

GLOC/LL/6
QLOZ/6L/6
9LOc/0£/6
SLOG
vLOcec/Ol
9LOZ/02/6
LL0Z/9L/2

PSSOUeD ZLOZ/Ec/t
PaeoUeD QLOC/SC/O1L
paeoued GLocedic
sAhoy
BANOY OLOZ PLZ)
BAIOY SLOC/PL/CL
BANOY LLOC/P/C
BANOY LLOZ/ P/E
pejjeoued
PaSSUueD GLOZc/6
BAIY
BAW LLOZ/Od/e
ONOW LLOCO0d/e
BAHOY OLOZ/b/ Lb
payeoued Q9L0Z/6/9
PSSOULD GSLOZ/0E/L
PSBOUED QLOC/E/9
pajaoued GLoc/de/l
poyjeouey
pajsoueg
BANOY LLOZ/PLIC
BAO LLOd/S2/9
payeoueD 2102/8 L/€
PaBOUeD QLOz/Ic/OL
payjeoued QLOc/e/9
PaeOUeD SLOC/Pe/6
PasoueD SLOZ/6L/S
PaTjeouey SLOc/ge
IEWL Ul LZbO0e/Ge/9
PaJBOUeD LLOZ/BL/E
pajeoued Q10¢/9z/01
PalSDUeD QLOc/Z/9
BAY LLOC/ES/V
PaBOUBD GLOC/L1/6
PSTSOUBD 9102/91/65
pajjeoueD GLOc/9L/6
PElesueD GLOc/e/e
pajeoued 7l0¢/ec/0l
PSIBOUBD QLOZ/0Z/6
paleoueD LLOe/9L/e

 
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9L0/e/e
9LOZ/E/e
QLOZ/LY/L
QLOZ/LE/L
QLOZLZL
QLOZ/OZ/L
QLOZOZ/L
GLOU/LE/eL
GLOZLe/eL
GLOZ/Le/cl
GLOZ/SL/Zl
GLOZ/OL/2L
GLOZ/OL/eL
GLOC/OL/CL
GLOC/OL/CL
GLOZ/OL/eL
GbOC/OL/ZL
GLOC/OL/EL
GLOZ/OL/ZL
GLOCIZZ/LL
SLOz/SZ/LL
GLOCSC/LL
GLOZ/Se/bL
GLOZS?/LL
GLOC/SC/LL
GLOZ/OL/LL
SLOZ/OL/LL
GLOZ/OL/LL
GLOCIP/LL
GLO?/P/LL
GLOCIP/LL
GLO?/Lc/OL
GLOZ/LC/OL
SLOZ/-c/OL
GLOd/9L/6
GLOZ/S/6
GLOZEec/s8
SLOe/ee/s
GLOZ/ec/s
GOL

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LLOC/9/E
LLOZ/6 LIC

LL0Z/8/€
LbOG/eTcle

9LOZ/S/9
GLOZ/Oe/ZL
QLOZ/8L/2b
QLOZ/E7/9

LLOZ/ZIS
LLOZ/Sc/¥
VLOC//c1
LLOZ/6/S
QLO?/LE/S
GLOZ/CL/L
QLOC/L/LL
QLOZ/SL/LL

VLOC/PFL/LL
GLOCISLIP

9L02/8z/9
G LOZ/6/L
GLOC/SL/S

aAHoy

BAILY PLOZ/OE/OL

BAO

BANOWY QLOZ/ZL/Z

BANOW OLOZ/ES/S
pejeoued LLO0c/S/e
payjeoueD LLO?S/Z

ano

BAHOY 9L0Z/9C/01L

BAY 9LOZ/9Z/OL
payeoueD LLOc/e/e
PaSOURED LLOZ/B/E
pajaoueg
pajasuey

ONY LL0Z/9c/r7
palisoued 9102/6/9
peyjeoueD GlLOc/OEe/cl
pE]EUeD GLOc/V/6
PelsqUeD 9L0Z/6/9

SALPV
PaSOURD LLOc/SZ/r
payeoued QlOc/ZL/S
pajsoueD FLOZ/6/cl
pajeoueD LLOZ/SC/P
pejeoueD SLOC/AL/S
Pa|BOUeD GLO?/eL/)
paeoueD QLOe/b/bb
PE]BOUBD QLOS/L/LL

sApy

BATOV SLOCI/S/CL

BANOV LLOS/LE/E

SAIPyY

SAPPY OLOZ/bL/bb

SAVY QLO?/SL/LL
PayeoUeD PLO? L/L)
Palfsoued GLOc/Sb/7
pejjeouegD
PaIS9UeD QLOZ/S/b
paljeoueD GLOZ/6/L
PajS9UeD GLOCISL/S

 
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QLOe/8el
9LOZ/o/Z
SLOZ/LI9
9L0/r2/S
9L0e/Pels
9L0e/ve/g
9LOZ/re/S
QL0z/velS
QLOe/re/S
9L0z/Pels
9bOc/7elS
9L0c/v2/s
gL0c/re/s
QLOz/e/s
9L02/6/S
QLOc/6/S
OLOZ/L/S
QLOG/LIS
OLOC/L/S
OLOC/L/S
QLOC/LIS
QLOG/L/S
9LOz/6e/F
9L0Z/62/v
OLOZ/6c/r
OL0Z/Le/r
QLOZ/Lcly
9LOZ/Le/v
9L0e/L2ly
OL0Z/L2/e
QLO2/L ele
OLOZ/L2/e
9L0Z/0Z/€
QLOZ/OL/E
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9LOz/9d/2
9LOC/9TIZ
9LO/S/Z

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GLOZISL/G
QLOz/0e/6
SLOdLIL
LLOZ/82/9
LOU WL
LLOe/v/s

LLOG/OLID
LLOC6E/E
LLOCLEE
LLOZ/O/L
QLOZEL/EL
GLOz¢SZ/O

LLOZ/OE/L
GLOZ/9/OL

LLOZ/L LIC

GLOz/v/e

9L0/6L/2
QLOZ/EL/9
vLOc/ec/Ol
9L0c/8L/01

LLOZSL/9
Lb0c/E/7

LLOdIv LIV

payeoued GLoze/l
paeoued QLOZ/eb/6
payjeoueD GLOd/L/t
payjeoued LLOc/8c/9
paysoued LLOg/Le/9
payjequed LLOc/7/S
BAI LLOC/P L/P
payjeoueD LZLOc/OL/P
pajyjeoueD LLOZ/6z/e
payeoueg ZLOZ/9L/e
payjeoued ZLOZ/O/L
paysoued 9LOc/eb/eb
PsS9UED GLOZ/Sz/9
SAIPY
BAIPY QLOC/OL/T
BAY GLOC/ECY
payjaoueg
BAIDY LLOe/Pre/y
payeoued QLOZ/O/L1
payjesued glOz/9L/6
aNYy LLOc/Pely
payjeoued QLOZ/Oe/LL
aAnoy
BAY LLOc/02/b
BAW LL0Z/02/b
BAILY
BAY 9102/62/01
palsoued yLOocd7e/el
BANOY 9107/62/01
SAY QLOC/LE/Z
pafeoued QLOzeb/2
BAY QLOC/LZ/e
PSSOUBD SLOZ/OC/LL
payjeoued 7102/ez/0l
PaJSOUeD QLOZ/PL/OL
annoy
payeoueg LLOZ/Le/e
paljssued SLoc/ar
BAY LLOZ/LE/€
payjeoued /ALOe/Le/e

 

 
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LL0z/9¢/9
LLO@/L LS
LLOZIS/S
LLOIGIS
LLOe/Lely
LLO0Z/8/7
LL0d/8iP
LoeLiv
LLOZIEIE
LL0z/e/e
QLOC/6Z/bL
9L0e/ec/b 1b
OLOZ/ZC/ LL
QLOZ/Ze/L +
9L02/rL/OL
9L0Z/01/6
9L0Z/01/6
9L0Z/8c/8
9102/82/82
9L02/82/8
9102/82/8
9072/8
9L02/va/8
9L0e/ee/e
OL0z/8c/l

00°LE9$
00'sr6$

00'rZr$

00°86$
00'89r$

oo'eves

00°062$

9L0Z/9/r
QLOZ/EL/L
GLOC/LL/8
QLOZ/LE/S
vLOz/sz/olL
OL0Z/OL/21
GLOZ/6/L
vlLOciec/al
LLOC/G/Z
LLOZ/6/Z
LLOZIE LIC

QLOZ/LE/8

G1L0Z/91/01

@AOY OLOZIL/O
payeoueg 9L0Z/9/r
OAOW QLOZ/B/Z
payjeoued QLOZ/SL/L
payaoued SL0Z/0E/9
payjeoueg QLOZ/LE/S
paljequed pLOZ/SZ/0l
paljeoueg gLOz/Oe/b1
paljeoued pLOz/ZZ/0b
ono 9LOZ/9Z/t
pa|jeoueg pLOZ/ZZ/01
ONO LLOZIZ/S
ONIOY LLOTIPL/9
payjeoueg LLOZ/6/Z
paljeouen LLOZ/L/Z
OAOY OLOZ/SL/LL
SAY
paljeouen QLOZ/LZ/L
annoy
payeouen 9LOz/Z2/L
eA QLOZ/S/6
any 9L0Z/S/6
anoy
aAnOW SLOZZL/S
eAOY 9LOZZ/ZI
paljeoued $L0z/r/6

 

 
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SKYPE
COMMUNICATIONS
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20

Archived conversations

User  davidgitman
Exported 1/7/2020, 8:45:00 AM

Konstantyn Bagaiev
e bagalev.kostiantyn12/14/2017, 12:10:45 PM
I'm just surprized

e davidgitmani2z/14/2017, 12:10:38 7M

Working on motion to dissolve the company now.

e davidaitmani 2/14/2017, 12:10:16 PM
Doesn't matter anyway since you gave up on it.

© bagalev. koslantyniZ/i4/2017, 12:20:05 PM

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This is forst time I hear about it. And I can't imagine that h ecan agree on this

e davidgitrnani2/i4/2017, 12:09:31 PM
Yes

« bagalev.kostantyniz/i3/2017, 12:38:49 PM
Is it true that Mike agreed on having 25% ?

oy

boo rinions eackiapeah SS /4 RPGS fe OF Oe ERMA
e begdiev.kostiantynl2Z/is/2017, i2Ziz7i2y PM

So you are going to trial ?
e davidgittnant2/13/2G17, 11:33:09 AM

T'll email it to you now

ggiev. xostantyni2/is/2027, 11:51:25 AM

ai

e be

Hello. Dave, that doesn't give me any info.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 18 of 171

e davidgitriani 2/13/2017, 11:23:39 AM

FYI, counter claims were filed.

e bagalev.kostiantyni2/11/2017, 6:25:2

“30 AM

ao

The only person suffered from this document is me. No idea why you blame me
for this

e davidgitmani2/11/2017, 8:21:04 AM

Case should be decided on February 12th. <e_m a="davidgitman"
ts_ms="1512997078610" ts="1512997078" t="61"></e_m>

e davidgiimani2/11/2017, 8:20:51 AM

Case is should be decided on February 12th. <e_m a="davidgitman"
ts_ms="1512997078610" ts="1512997078" t="61"></e_m>

e davidgitmani2/11/2017, 8:20:40 AM

<e_m a="davidgitman" ts_ms="1512996999731" ts="1512996999"
t="61"></e_m>

e bagalev.kostiantyni2/11/2017, 8:17:55 AM

So let's go back to my initial question. What better options I have?
galev kostlantyniz/i1/2017, 6:16.09 AM
I told you to sign off on Sep, after your email

4 4telo ALA

eytess eg Lesendde essen ayy dO PPAR Reef ED ALY
e bagaiev.xostiantynia/i (/40l/, B:iSi53 AM

Fes

You can't protect me since June<e_m a="bagaiev.kostiantyn"
ts_ms="1512998146825" ts="1512998146" t="61"></e_m>

« davidgitmani2/11/2017, 8:15:51 AM
I'm signing off.
e davidgitmani2/11/2017, 8:15:46 AM

Good luck
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 19 of 171

fH

e bagalev.kostiantyni 2/11/2017, 8:15:46 AM

—

I can't protect me since June
« bagaiev.kostiantyn12/11/2017, 8:15:33 AM
I had such talks several times
e devidgitniani2/11/2017, 6:15:33 AM
You acted on your own and I can’t protect you anymore.
e daviagitrnaii2/11/2017, S:iSi20 AM
If you have concerns you could’ve called me. You know my phone number
© davidgkmaniz/11/2017, o:i4i55 AM
You got played as I said you would. Now there is going to be consequences
° bagalev.xostlantyni2/1i/2017, 8:14:52 AM
But you never explain me
e bagalev.kostiamtynii2/11/2017, 6:14:39 AM
These are things that are good for CR
e bagalev.kostiantyni2/11/2017, S:i4:27 AM
Sometimes you say that I shouldn't do things
e bagaiev.kostiantyni2/11/2017, 3:14:14 AM
I still have no idea
e bagaev.kestlantynii2zjli/2017, i410 AM
Dave. In June I asked you what strategy do you have.
 bagaicy. kostiantyni2/ii/2017, 8:13:21 AM
Instead you talked to me your way. And now ask why I didn't call to say

hello<e_m a="bagaiev.kostiantyn" ts_ms="1512997995012" ts="1512997995"
t="61"></e_m>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 20 of 171

« davidgitmani2/11/2017, 6:13:21 AM

I will send you that email where that was said.
« bagaiev.kostlantyn12/i1/2017, 8:13:15 AM

Instead you talked to me your way. And now ask why I didn't call to say hellp
» bagalev.kastiantyni2/11/2017, 6:12:55 AM

You know you could just tell me. &quot;Sorry K I'm not allowed to help&quot;
e davidgitmanl2Z/1i/2017, S:izi4s AM

There are two roles in a LLC. A manager and an owner. I was removed as a
manager which means I am essentially a silent owner

e davidgitmant2/11/2017, 6:12:24 AM
Exactly
e bagaiev.kostiantyn12/11/2017, 8:12:00 AM
It is about managing.
« davidgitmani2/11/2017, 8:11:57 AM
Go ahead and ask him at and or read the first TRO document
« davidgitmani2/11/2017, 8:11:43 AM
That’s exactly what the TRO is. It is not my company. I am not a manager of the
company. I am not able to do anything for the companies. That is what Mike did
in filing the case. He remove me from the companies.
¢ bagaiev.kostlantyn12/11/2017, 8:11:17 AM
I can't imagine that can be not allowed to help to your own company.
» bagalev.kostiantyn12/i1/2017, 8:11:02 AM
I didn't get last phrase

e davidgittnani2/11/2017, 8:10:38 AM
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I'm sorry you feel that way. But if I didn’t respond to Skype to executing
agreement like that seems like a very inconsistent retaliation

e bagaiev.kostiantyni2/11/2617, 6:10:32 AM
I don't have any other connections to you
e bagalev.kostiantyni2/11/2017, 8:10:21 AM
I know that you can reply to email
e bagalev.kostlantyni2/11/2017, 6:10:15 AM
Once I tried to reach you in Viber with no luck
e davidgitmani2/11/2017, 8:10:14 AM
I was in no way ignoring you.
« davidglimanti2/i1/2017, S:0S:49 AM

I haven't signed onto Skype for a long time. I didn’t use it at all. You know that
and could’ve reached out to me on Viber or anything else

e davidgitmani 2/11/2017, 8:09:30 AM
I'm on taking Shira to school but I will forward you the emails
+ bagaiev.kostiantyni2/11/2017, 8:09:29 AM
And ignored me in skype
e = bagaiev.kostlantyn12/11/2017, 8:09:23 AM
That's it
e bagalev.kostiantyni2/11/2017, &:09:20 AM
You told me that he has
e davidgitrnani2/11/2017, 8:09:11 AM
It’s over. You made your decision.

« bagalev.kostiantyni2/i1/2017, 8:09:11 AM
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I sent you another one, cause Mike didn't
. bagaiev.kostiantyni2/11/2017, 8:09:01 AM
You wrote in email that Mike has access.
e = davidgitmani2/i1/2017, 8:08:52 AM
I’ forward you the email.
e bagaiev.kostiantyni 2/11/2017, :08:48 AM
I don't see any way it can be end up
e davidgitmani2/11/2017, 8:08:47 AM
That's what I wrote in email.
e« bagalev.kostiantyni2/11/2017, 8:08:31 AM
That is what you say NOW. but that time you just ignored.
e davidgitmani2/11/2017, 8:08:01 AM
I did ignore you. I was acting by the judges orders.
e« davidgitmant2/11/2017, 8:07:48 AM
This is two ways.
e pbagaiev.kostiantynl 2/11/2017, §:07:48 AM
After your ignorance?
e davidgitmani2/i1/2017, 8:07:38 AM
Just to say hello.
e davidgitmani 2/11/2017, 8:07:34 AM
You could have called me.
° bagalev.kostiantyn12/11/2017, 6:07:19 AM

You haven't told me a word last 1.5 months
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« bagaiev.kostiantyni2/11/2017, 8:07:08 AM
Just explain me what you expected? How did you expect to end up this?
e davidgittnani2/1i/2017, 8:06:58 AM
Because nobody in their right mind would sign an agreement like that
« bagalev.kostiantyni2/11/2017, 6:06:37 AM
Why you always think that I don't understand something<e_m
a="bagaiev.kostiantyn” ts_ms="1512997590196" ts="1512997590"
t="61"></e_m>
e bagaiev.kostlantyni2/11/2017, 8:06:30 AM
Why you always thing that I don’t understand something

e cavidgitmani2/11/2017, 8:06:19 AM

I told you should sign an agreement that would remove you from the case and
give you ownership. The document says everything but that and even gives Mike
power of attorney to make the decisions for you. I don’t think you understand
what you signed<e_m a="davidgitman" ts_ms="1512997542783"
ts="1512997542" t="61"></e_m>

e davidgitmani2/11/2017, 8:06:04 AM

I told you should sign an agreement that would remove you from the case and
give you ownership. The document says everything but that and even gives my
power of attorney to make the decisions for you. I don’t think you understand
what you signed<e_m a="davidgitman" ts_ms="1512997542783"
ts="1512997542" t="61"></e_m>

- davidaitmani2/11/2017, 8:05:42 AM
I told you the signed agreement that would remove you from the case and give
you ownership. The document says everything but that and even gives my
power of attorney to make the decisions for you. I don’t think you understand
what you signed

e bagaiev.kostlantyni2/11/2017, 8:05:41 AM

Right after we talked to your lawers
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» bagalev.kostiantynl2/11/2017, 8:03:24 AM
You told me a month or more ago that I have to sign such document<e_m
a="bagaiev.kostiantyn" ts_ms="1512997517336" ts="1512997517"
t="61"></e_m>
« bagalev.kostiantyniZz/11/2017, 8:05:17 AM
You told me a month or more ago that I have to sign such documetn
« bagaiev.kostiantyni2/11/2017, 8:05:05 AM
Lol
e 6 davidgitrnani 2/11/2017, 8:04:44 AM
Im asking the judge to dissolve CR and all other entities. It was worth saving
before you signed the papers. At this point I see no future in us working well
together and think everything should be dissolved
e vagalev.kostiantyn12/11/2017, 8:04:22 AM
In May you told me that you don't do anything illegal, but you have TRO now
e bagaiev.kostiantyniZ/11/2017, S:G4:01 AM
You told that the case will be stopped - it is not.
e pagalev.costiantynl2Z/1i/2017, 8:03:45 AM
You never told me.
© davidgiinaniZ/1i/2017, 6:05:31 AM
I told you this is how it would play out.

Ley wm pmyny Foes goaded oscy yon doe gyry GOT F PY eshte
° bagalev.kostiantyniz/11/2017, 6:03:25 AM

Do my best for CR is to fuck you over?<e_m a="bagaiev.kostiantyn"
ts_ms="1512997401540" ts="1512997401" t="61"></e_m>

e bagalev.kostiantyni2/11/2017, 8:03:21 AM

Do my bet for CR is to fuck you over?
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 25 of 171

* bagaiev.kostiantyni2/11/2017, 8:03:00 AM
<quote author="davidgitman" authorname="David Gitman"
timestamp="1512997252" conversation="8:davidgitman"
messageid="1512997252280"><legacyquote>[1512997252] David Gitman:
</legacyquote>Check your email. <legacyquote>

<<< </legacyquote></quote>There should be something new? Or check my
old emails? I don't have anything now

e davidgitmani2/11/2017, 8:02:57 AM
Why did you have to fuck me over?
e bagaiev.kostiantyni2/11/2017, &:.02:26 AM
Never mind. I'm tired of that. Do whatever you both want. I'll do my best for
CR<e_m a="bagaiev.kostiantyn" ts_ms="1512997340194" ts="1512997340"
t="61"></e_m>
« bagaiev.kostiantyni2/11/2017, 8:02:20 AM
Never mid. I'm tired of that. Do whatever you both want. I'll do my best for CR
e cavidgitmani2/11/2017, 6.02115 AM

Don’t you think I want to work on CR. <e_m a="davidgitman"
ts_ms="1512997321951" ts="1512997321" t="61"></e_m>

e davidgitmani2/11/2017, 8:02:01 AM
Don’t you think I want to work in CR.

e davidgitmani2/i11/2017, 8:01:50 AM
Read the TRO.

e bagaiev.kostiantyni2/11/2017, 8:01:40 AM
I don't think that it is true.

e cavidgitmani2/11/2017, 8:01:29 AM

Iam not allowed to touch CR. <e_m a="davidgitman" ts_ms="1512997283236"
ts="1512997283" t="61"></e_m>
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e davicightmani2/11/2017, 8:01:23 AM
I am not allowed t touch CR.

e davidgitmani2/11/2017, 8:01:14 AM
Yes. By court order.

e bagalev.kostiantyni2/11/2017, 6:01:06 AM
<quote author="davidgitman" authorname="David Gitman"
timestamp="1512997240" conversation="8:davidgitman"
messageid="1512997240185"><legacyquote>[1512997240] David Gitman:
</legacyquote>I am not allowed to do it. <legacyquote>
<<< </legacyquote></quote>Really?

e davidgitmani2/11/2017, 8:00:52 AM
Check your email.

e davidgitmani2/11/2017, 8:00:39 AM
I am not allowed to do it.

e davidgitrnani2/11/2017, 8:00:32 AM
I didn’t ignore. I said mike has to do it.

e bagaiev.kostiantyni2/11/2017, 8:00:06 AM

Dave, I asked you to enable higher level of support. We couldn't do that without
you. You ignored me in skype and in 2 emails.

e davidgitmani2/11/2017, 7:59:53 AM
Check the documents that are filed tomorrow.
e bagaiev.kostiantyn12/11/2017, 7:59:33 AM

Mike promised me share, you promised me something. I don’t care any more. If
I'll get fired - I'll start something for myself.

« davidaitmani2/11/2017, 7:59:26 AM
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<partlist type="ended" alt="" callld="e89461a1-f9e4-42c8-a5e6-
7551fc7fb24d"><part identity="davidgitman"> <name> David
Gitman</name><duration>55.298</duration> </part> <part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>55.298</duration></part>< /partlist>

e davidaitrnani0/4/2017, 9:37:53 AM
<partlist type="started" alt="" callld="e89461a1-f9e4-42c8-a5e6-
7551fc7fb24d"><part identity="davidgitman"><name>David
Gitman</name> </part> <part

identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name> </part> </partlist>

« davidgitmani0/4/2017, 9:34:07 AM
<partlist type="ended" alt="" callld="e8d01051-8233-476a-84e7-
ff4c515958ad"><part identity="davidgitman"><name>David
Gitman</name> <duration>124.343</duration></part><part

identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>124.343</duration> </part></partlist>

e davidgitrnani0/4/2017, 9:32:02 AM
<partlist type="started" alt="" callld="e8d01051-8233-476a-84e7-
ff4c515958ad"><part identity="davidgitman"><name>David
Gitman</name> </part> <part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name> </part> </partlist>

° bagaiev.kostiantyn10/4/2017, 2:37:32 AM

Will go out in 15 minutes<e_m ts="1507099048" ts_ms="1507099049684"
a="bagaiev.kostiantyn” t="61"/>

e bagalev.kostiantyni0/4/2017, 2:37:29 AM
Will go out in 15 minute
« bagaiev.kostlantyni0/4/2017, 2:37:21 AM
I’m available now. And I'll be available in about 3 hours

e bagaiev.kostiantyn10/4/2017, 2:36:50 AM
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Yes sure.

cavidgitman10/3/2017, 6:31:37 PM

Can you call me when you have a moment?
davidgitman10/3/2017, 6:31:29 PM

It's hard to believe they are worse.
bagalev.kostiantyn 10/3/2017, 7:48:56 AM
Just awful

davidgitmani0/3/2017, 6:35:07 AM

The roads are worse?

bagalev.kostiantyn 10/3/2017, 6:16:58 AM

I’m under impression of bad roads<e_m ts="1507025810"
ts_ms="1507025812752" a="bagaiev.kostiantyn" t="61"/>

bagalev, kostiantyn 10/3/2017, 6:16:52 AM
I’m under impression of bd roads
davidgitman10/3/2017, 6:00:36 AM
How’s Kharkiv?

davidgitman10/2/2017, 4:47:12 AM

I want to add AJAX later today

davidgitman10/2/2017, 4:47:04 AM

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I'm building an notification app for Shira’s soccer team since the field location

changes last minute. <a

href="http://aysobluesharks.com/">http:/ /aysobluesharks.com/</a>

davidgitmani0/2/2017, 4:17:39 AM

So you are on a soccer break now?
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 29 of 171

e davidgitmani0/2/2017, 4:17:16 AM
I’m squirming.

« davidgitmani60/2/2017, 4:16:57 AM
Ouch

- bagaiev.kostiantyn 10/2/2017, 4:14:26 AM
Or not muscles, but someting else.

- bagaiev.kostiantyn10/2/2017, 4:14:12 AM
I stretched muscles there too much

« bagalev.kostiantyn10/2/2017, 4:14.02 AM
Well it wasn’t like that %)

e davidgitrnani0/2/2017, 4:13:36 AM
That is a nice way of saying you got hit in the balls.

e davidgitmani0/2/2017, 4:13:16 AM
Ouch!!!

e bagaiev.kostiantyn 10/2/2017, 4:00:27 AM

On 10/2/17, at 10:59 AM, David Gitman wrote:
> Again?

Last 2-3 years can’t play more than 4 months in a row
* bagalev.kostiantyn10/2/2017, 3:59:54 AM

“trauma to the groin”
e davidgitmant0/2/2017, 3:59:44 AM

K

- bagaiev.kostiantyn10/2/2017, 3:59:40 AM
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Using google to transalte

© davidgitman10/2/2017, 3:59:16 AM
What did you hurt?

« davidgitrnani0/2/2017, 3:59:00 AM
Again?

* bagaiev.kostiantyni0/2/2017, 3:58:56 AM
A week here then drive back to Zelenograd

e bagaiev.kostlantyni0/2/2017, 3:58:41 AM
Yes.

e bagaiev.kostiantyn10/2/2017, 3:56:37 AM
I have another soccer injury.

e davidgitmani0/2/2017, 3:56:24 AM
Did you see family?

« bagaiev.kostiantyn10/2/2017, 3:58:23 AM
He-he

e badaiev.kostiantyn10/2/2017, 3:58:14 AM
Drove to Kharkiv

« davidgitmani0/2/2017, 3:58:10 AM
Shira started playing soccer. Games are mostly at 8am on Saturday and Sunday

e bagaiev.kostiantyni0/2/2017, 3:58:08 AM
I did

e davidgitmani0/2/2017, 3:57:50 AM

Hope you had a good weekend
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I didn’t ignore. With AWS the judge made me ensure mike had full access.
e bagaiev.kostlantyni2/i1/2017, 7:59:03 AM
When I asked for AWS help in skype you ignored.
« davidgitmani2/11/2017, 7:58:46 AM
I am always replying to you.
e bagaiev.kostiantyni2/11/2017, 7:58:26 AM
I had about 10 such dates. It is just another one
e bagaiev.kostiantyni2/11/2017, 7:58:15 AM
You are not replying to me. You do your own things for your own reasons.
e davidgitmani2/11/2017, 7:57:58 AM
Case is being decided on February 12th.
e bagaiev.kostiantyni2/11/2017, 7:57:42 AM
Of course I did
e bagalev.kostiantyni2/i1/2017, 7:57:37 AM
Dave you know me quite good
e davidgitmani2/11/2017, 7:57:07 AM
Do you even read the document?
e davidgitrnani2/11/2017, 7:56:39 AM
Wait
e bagaiev.kostiantyni2/11/2017, 7:56:16 AM
What other options I have?
e davidgitrnani2/8/2017, 2:21:52 PM

So you gave up on your ownership?
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 32 of 171

° bagaiev.kostiantyni 1/8/2017, 9:19:44 AM

Can you help us. Looks like you have the only root account in our AWS, and we
need an upgrade of support plan.

« bagalev.kostiantyn11/8/2017, 9:19:07 AM

e davidgitmani0/5/2017, 12:09:53 PM
np

« bagaiev.kostiantyn10/5/2017, 12:07:07 PM
THanks

e davidgitraani0/5/2017, 12:01:11 PM
Now

- bagaiev.kostiantyn10/5/2017, 12:00:32 PM

Dave, can you help me. 12 pm in NY is now or in your midnight ? <ss
type="smile">:)</ss>

« davidgitmant@/5/2017, 9:20:36 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>530</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>530</duration>

</part>

</partlist>

© davidgitmani0/5/2017, 9:11:48 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 33 of 171

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

A

» bagaiev.kostiantyn10/5/2017, 9:11:39 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>15</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>15</duration>

</part>

</partlist>

e bagaiev.kostiantyn 10/5/2017, 9:11:24 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

» davidaitmaniO/5/2017, 9:01:39 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>16</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>16</duration>

</part>

</partlist>

« davidgitmani0/5/2017, 9:01:24 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 34 of 171

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>
<part identity="davidgitman">
<name>David Gitman</name>
</part>
</partlist>

« bagaiev.kostiantyni0/5/2017, 8:17:00 AM
Ok

e davidgitmaniG/5/2017, 6:16:52 AM
I have no idea

e davidgitmant0/5/2017, 8:16:45 AM
Great. I’m almost at my desk.

e bagalev.kostiantyni0/5/2017, 8:16:45 AM
Can you give me any info of what do they want to clarify from us ?

e bagalev.kostiantyni0/5/2017, 6:16.31 AM
Ok I’m ready.

- davidgitmani0/5/2017, 8:15:36 AM
Yes

e bagaiev.kostiantyni0/5/2017, G:19.25 AM
Hi, the call is in 15 minutes right ?

e = davidgitrnaniG/4/2017, 9:46:29 AM
<a
href="http://www.uberconference.com/dgitman" >www.uberconference.com/dgit

man</a> | Dial in: 646-847-0026 | No PIN needed

e davidgitmani0/4/2017, 9:36:49 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 35 of 171

« davidgitmani0/2/2017, 2:56:43 AM
Thanks for confirming,

© davidgitmant0/2/2017, 3:55:50 AM
I know

- bagaiev.kostiantyni0/2/2017, 3:24:51 AM

2 months ago Mike wanted me to sign such agreement, but I declined this and
didn‘ sign it.

« bagaiev.kostiantyn10/2/2017, 3:22:00 AM
I've signed it, but never sent my signature to Mike.
e bagalev.kostiantyn10/2/2017, 3:21:23 AM

Dave, I’ve explained you before about the agreement, which I needed for my
bank

« bagalev.kostiantyn10/2/2017, 3:19:00 AM
Hi, checking
« davidgitmant0/2/2017, 3:08:55 AM
Hey. Can you check my email when you have a moment
° davidgitman9/28/2017, 8:08:16 AM
Techcrunch is one of the most respected places to get valuation of information
- bagaiev.kostiantyn9/28/2017, 8:07:28 AM
Another one gives 600k total <ss type="sad">:(</ss> <a
href="http://fitsmallbusiness.com/business-valuation-
calculator/"> http: //fitsmallbusiness.com/business-valuation-calculator/</a> but
it doesn’t include that we are growing.
° bagaiev.kostiantyn9/28/2017, 7:58:32 AM

And we are growing.
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e bagalev.kostiantynS/28/2017, 7:56:25 AM
Net income.
e §6davidgitraanS/28/2017, 7:58:16 AM

<a href="https://techcrunch.com/2016/10/07/determining-the-worth-of-your-
saas-company/">https://techcrunch.com/2016/10/07/determining-the-worth-of-
your-Saas-company/</a>

* bagalev.kostiantyn9/28/2017, 7:58:16 AM

Let’s say 20k$ net income every month. That means 240k$ per year.
e davidgitmano/28/2017, 7:58:05 AM

Also this
e bagaiev.kostlantynS/28/2017, 7:57:46 AM

2 calculators give more than 4 million <a
href="https://www.fool.com/careers/2017/06/16/how-much-is-my-business-
worth.aspx#results">https://www.fool.com/careers/2017/06/16/how-much-is-
my-business-worth.aspx#results</a> <a
href="https://www.calcxml.com/calculators/business-

valuation" >https://www.calcxml.com/calculators/business-valuation</a>

e davidgitmanS/27/2017, 5:47:04 PM

I just listened. It stopped recording at 30min. I don’t have I Mike saying he will
never give you any ownership. However, I will try to get that in email as we will
be asking for it in a settlement offer.

e bagaiev.kostiantyn9/27/2017, 5:35:00 PM
Dave, please drop me a recording

e davidgitmanS/27/2017, 5:24:53 PM
<partlist type="ended" alt="" calllid="ea5/7aa0d-ee75-4224-b6a8-
e8bfc751f80a"><part identity="davidgitman"><name>David
Gitman</name><duration>1358.949</duration> </part><part

identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>1358.949</duration> </part> </partlist>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 37 of 171

© davidgitinand/27/2017, 5:02:14 PM

<partlist type="started” alt="" callid="ea57aa0d-ee75-4224-b6a8-
e8bfc751f80a"><part identity="davidgitman"> <name> David
Gitman</name></part> <part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name> </part></partlist>

- davidgitrian®/27/2017, 5:01:55 PM
Yes. On mobile.

» bagaiev.kostiantyn9/27/2017, 4:55:27 PM
Can you send me recording?

e bagalev.kostlantyn9/27/2017, 4:52:11 PM
No problem lol <ss type="smile">:)</ss>

e davidgitman$/27/2017, 4:51:55 PM

I'm sick and sound like shit

Ut
fend
un
ie
“)
S

e bagalev.kostiantyn9/27/2017, +:

Ok.

“a
ant

e cavidgitmang/27/Z017, 4:51:45 PM
I can call you.

e daviagittnanS/27/2017, 4:51:24 FM

We would have had a deal if it wasn’t for your ownership.

L *

» bagalev.kostiantyn9/27/2017, 4:43:17 PM
Can we talk?

ete? beaebbs alae £7 Pye A AM 4S
° bagaiev.kostlantyn9/27/2017, 44204,

nf
“4
ha?

What do you think ?

« bagalev.kostiantyn9/27/2017, 4:42:19 PM
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That means that Mike should start conversation about that with me
« bagaiev.kostiantyn9/27/2017, 4:44:33 PM

So basically I understand why you need this.<e_m ts="1506544874"
ts_ms="1506544875086" a="bagaiev.kostiantyn” t="61"/>

- bagaiev.kostiantyn9/27/2017, 4:41:23 PM
I want to hear Mike’s opinion
« bagaiev.kostiantyn9/27/2017, 4:41:15 PM
So basically I understand ehy you need this.
e bagaiev.kostiantyn$/27/2017, 4:40:50 PM

I was promised by both you and Mike that I have equity. I want to hear both,
your and Mike reasons to sign such agreement

© davidgitman9/27/2617, 4:39:16 PM
I said that’s crazy.
« = davidgitrnan9/27/2017, 4:39:06 PM
They think you will since you went back to work,
e = davidgitman9/27/2017, 4:38:46 PM
And I would not be able to compete with CR.
e bagaiev.kostantyn9/27/2017, 4:38:43 PM
Why should I do this ?
» davidgitman9/27/2017, 4:38:14 PM

Also they mentioned I would have to help get you to sign an agreement with CR
for no equity.

« bagalev.kostiantyn9/27/2017, 4:37:58 PM

I’m here

 
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© davidgitman9/27/2017, 4:37:52 PM
Judge feels that we are too far apart
e davidgitman9/27/2017, 4:37:37 PM
Just walking out.
e bagaiev.kostiantyn9/27/2017, 1:56:09 PM
Ok
e davidgitrnan$/27/2017, 1:56:01 PM
I need to shut off my phone as we meet again at 2pm. Talk later.
e davidgitmans/27/2017, 1:54:20 PM
Thank you again.
« bagaiev.kostiantyn9/27/2017, 1:53:24 PM
You should have access here <a
href="https://docs.google.com/spreadsheets/d/1kZPo09_ZMjiAJAm_OzLoACum_Uj
OhzRGmluDPILYVHoA/edit#gid=0">https://docs.google.com/spreadsheets/d/1kZ
Po9_ZMjiAJAM_OzLoACum_UjOhzRGmiuDPILYVHoA/edit# gid=0</a>
e bagalev.kostlantyn9/27/2017, 1:52:55 PM
I was right at first. Forgot about Paypal customers
e davidgitman9/27/2017, 1:52:49 PM
Perfect.
» bagalev.kostiantyn9/27/2017, 1:52:39 PM
35k in august
« =davidgitman9/27/2017, 1:52:37 PM
Yes

e bagaiev.kostiantyn9/27/2017, 1:52:35 PM

 
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Just checked

e bagalev.kostiantyn$/27/2017, 1:52:31 PM
Dave

« bagalev.kostlantyn9/27/2017, 1:52:12 PM
And we make about 2k more every month

e = davidgitmane/27/2017, 1:52:06 PM
Thank you.

e bagaiev.kostiantyn9/27/2017, 1:50:55 PM
And it was about 34 on July

» bagaiev.kostiantyn9/27/2017, 1:50:43 PM
$28.73K this month (will more till 30th of Sep)

e« davidgitman$/27/2017, 1:50:25 PM
Oh?

e bagalev.kostiantyn9/27/2017, 1:50:26 PM
$32.59K last month

e bagalev.xostiantyn$/27/2017, 1:50:15 PM
Sorry wrong info.

e davidgitman?/27/2017, 1:49:38 PM
35 right now?

e bagalev.kostlantyn9/27/2017, 1:49:39 PM

Can be more if include lawyers fees<e_m ts="1506534574"
ts_ms="1506534575000" a="bagaiev.kostiantyn” t="61"/>

e bagalev.kostlantyn9/27/2017, 1:49:34 PM
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Can be more if include lawyers
e« bagaiev.kostiantyn9/27/2017, 1:49:10 PM
I think around 15k$
e bagalev.kostlantyn9/27/2017, 1:40:47 PM
I don’t know about expenses
*« bagalev.kostiantynS/27/2017, 1:48:40 PM
34-35 - depending on yearly sign ups.
e« bagaiev.kostlantyn9/27/2017, 1:48:20 PM
Currently total income 35k$
e davidgitrnan9/27/2017, 1:48:02 PM
Also how much do you think CR makes every month?
e« bagalev.kostiantyn9/27/2017, 1:47:50 PM
Id like to hear it.
e davidgitmanS/27/2017, 1:47:38 PM
I will send you the recording.
e« bagaiev.kostiantyn9/27/2017, 1:47:36 PM
I see
® davidgitman9/27/2017, 1:47:27 PM
Judge allowed me to have it to bring up papers about settlement.
e davidgitman9/27/2017, 1:47:06 PM

I recorded michale saying he will never give you any ownership.

Pe)
an

e bagaiev.kostiantyn9/27/2017, 1:47:06 PM

&

C

Lol. Don’t be banned because of that <ss type="smile">:)</ss>

 
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davidgitman9/27/2017, 1:46:45 PM

I was able to get my phone into court room.
davidgitman$/27/2017, 1:40:33 PM
Great great news.
bagalev.kestiantyn9/27/2017, 1:46:23 PM
I see. Good news

davidgitmanS/27/2017, 1:46:12 PM

I only have a few minutes.
davidgitman$/27/2017, 1:46.06 PM

So a few things.

davidgitman$/27/2017, 1:45:55 PM

This is the first time they would talk about settling. Otherwise they would have
looked bad in front of judge and he would have put restrictions on Michael.

bagaiev.kostiantyn9/27/2017, 1:45:05 PM

Hope you'll settle <ss type="smile">:)</ss>

I see

davidgitman$/27/2017, 1:44:51 PM

We are on a quick break.

davidgitmanS/27/2017, 1:44:42 PM

The judge said I’m in compliance and is trying to get the case settled.
davidgitman9/27/2017, 1:44:14 PM

It was supposed to be an appearance for compliance.

 
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» bagaiev.kostlantyn9/27/2017, 1:44:09 PM
Or will be there? <ss type="smile">:)</ss>

» bagaiev.kostiantyn9/27/2017, 1:44:02 PM
Were, or there right now?

« davidgitmand/27/2017, 1:43:30 FM
So we’re in court today.

° bagalev.kostiantyn9/27/2017, 1:42:51 PM
Hi, yes

e davidgitraan9/27/2017, 42:41 PM
Hey. You up?

e davidgitrnan9/25/2017, 12:35:59 PM
Thx

e bagalev.kastiantyn$/25/2017, 12:33:29 PY

Take care of yourself

I’m sick in bed with a fever. Can I check this for you a little later?

e bagaiev.kostiantyn9/25/2017, 9:56:51 AM
<a
href="https://monosnap.com/file/xhKidAsWnqvZcHOGHdOvj2QekfEILA">https://

monosnap.com/file/xhKldAsWnqvZcHOGHdOvj2QekfEILA</a> This is what I see
after I’m logging in

e bagalev.kostiantyn9/25/2017, 9:56:36 AM

 
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Hi Dave. Can you help me to login to “channelreply” eBay account that you
created for us

e davidgitman9/20/2017, 2:21:10 PM

<partlist type="ended" alt="" callid="76402ef5-00cd-48d8-b20b-
67fd77f7c5fa"><part identity="davidgitman"> <name> David
Gitman</name> <duration>332.904</duration></part><part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>332.904</duration>< /part></partlist>

» davidgitman$/20/2017, 2:15:37 PM

<partlist type="started” alt="" callid="76402ef5-00cd-48d8-b20b-
67fd77f7c5fa"><part identity="davidgitman"><name>David
Gitman</name></part><part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name> </part> </partlist>

» bagaiev.kostiantyn9/20/2017, 2:15:25 PM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

e baaalev.kostiantyn9/20/2017, 2:15:25 PM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

e davidgitrnan9/20/2017, 2:15:18 PM

<URIObject type="Audio.1/Message. 1"

url thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d3-
69cc255adc6790a824440a3ca7ab5ac6/views/thumbnail"
uri="https://api.asm.skype.com/v1/objects/0-eus-d3-
69cc255adc6790a824440a3ca7ab5ac6">

<Title>Voicemail</Title>

<a href="https://login.skype.com/login/sso?go=webclient.xmm&am=0-eus-d3-
69cc255adc6790a824440a3ca7ab5ac6">Play</a>

 
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<OriginalName v="voicemail.wav" />
</URIObject>

« davidgitrnan9/20/2017, 2:15:14 PM
<partlist type="missed" alt="" callId="eca60042-62b6-46e6-9129-
900fead771d7"><part identity="davidgitman"> <name>David
Gitman</name><duration>10.927</duration></part> <part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>10.927</duration> </part> </partlist>

« davidgitman9/20/2017, 2:15:04 PM
<partlist type="started" alt="" callld="eca60042-62b6-46e6-9129-
900fead771d7"><part identity="davidgitman"><name>David
Gitman</name> </part><part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name></part></partlist>

« davidgitman?/20/2017, 2:14:29 PM
I'm asleep at 9pm <ss type="smile”>:)</ss>

° davidgitman9/20/2017, 2:14:02 PM
Can I call?

- bagaiev.kestiantyn9/20/2017, 2:14:07 PM
Yes. It is only 9 p.m. here

e davidgitman9/20/2017, 2:13:52 PM
Still up?

« bagalev.kostlantyn9/20/2017, 2:13:50 PM
Hi

e cavidgitrnang/20/2017, 2:13:31 PM
Hey

* bagaiev.kostiantyn9/20/2017, 12:19:34 PM

 
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Hi Dave. Looks like you have removed Viber <ss type="smile">:)</ss>
e davidgitman7/4/2017, 11:04:25 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>3014</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>3014</duration>

</part>

</partlist>

e bagajev.kostiantyn7/4/2017, 11:00:36 AM
However, it can be in Bank of America

e bagaiev.kostiantyn7/4/2017, 11:00:13 AM
<a

href="https://monosnap.com/file/LA7NM18GV0e27VVLsEOVnRIEWOAuS3J" > https:
//monosnap.com/file/LA7NM18GV0e27vVLsEOVnRIEWOAuS) </a>

oh

e bagaiev.kostiantyn7/4/2017, 10:55:56 AM

¢

<a
href="https://channelreply.chargebee.com/subscriptions/3725351/details">https
://channelreply.chargebee.com/subscriptions/3725351/details</a> this customer
(Paypal) paid with some wire transfer. Mike could charge him more than yearly
Enterprise costs (1908$). And I don’t have any report about that. Mike just
mentioned In January or February that they paid him directly. His userId in our
system is 1125.

° agaiey. kostiantyn7/4/2017, 10:25:02 AM

<a href="https://stackoverflow.com/questions/5740894/give-name-to-table-
after-select">https://stackoverflow.com/questions/5740894/give-name-to-table-
after-select</a>

e bagaiev.kostiantyn7/4/2017, 10:24:47 AM

WITH NewTableName AS (
SELECT *

 
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FROM ContentReportRequests a,UserPreferences d
WHERE a.UserID = d.UserID and a.ID =@ID

)
SELECT * from NewTableName

« bdagaiev.xostiantyn7/4/2017, 10:24:23 AM

SELECT * into NewTableName
FROM ContentReportRequests a,UserPreferences d
WHERE a.UserID = d.UserID and a.ID =@ID

« davidgitmian7/4/2017, 10:14:15 AM

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

e bagaiev.kostiantyn7/4/2017, 10:15:09 AM
I’m ready

° vagalev.kostlantyn7/4/2017, 10:12:46 AM
Can be on my side too

e bagalev.kostlantyn7/4/2017, 10:12:41 AM
Till restart it too

e davidgitrian?/4/2017, 10:12:34 AM
<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>30</duration>
</part>
<part identity="davidgitman">

<name>David Gitman</name>
<duration>30</duration>
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</part>
</partlist>

e davidgitman//4/2017, 10:12:05 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

» bagalev.kestiantyn7/4/2017, 10:11:40 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

e bdagaiev.kostiantyn7/4/Z2017, LOL 1:39 AM

<partlist type="started™ alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

« davidgitmans/26/2017, 12:58:19 PM
Butt dial
e davidaitmanG/26/2017, 12:40:40 FM

<partlist type="missed" alt="" callid="e8b473b4-baf4-42f8-a26f-
0f96b43e70c4"><part identity="davidgitman"> <name>David
Gitman</name> </part> <part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name></part> </partlist>

2

e bagaiev.kostiantyn6/28/2017, 12:48:55 PM

?

 
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» davidgitman6/28/2017, 12:23:02 PM

<partlist type="ended" alt="" calliId="5c67b37a-4808-47bc-b2e6-
478b1916157d"><part identity="davidgitman"><name>David
Gitman</name> <duration>310.094</duration> </part> <part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>3 10.094</duration></part> </partlist>

« davidgitman6/28/2017, 12:17:52 PM

<partlist type="started” alt="" callld="5c67b37a-4808-47bc-b2e6-
478b1916157d"><part identity="davidgitman"> <name>David
Gitman</name></part> <part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name></part></partlist>

e davidghtman6/28/2017, 12:17:36 PM

<partlist type="ended" alt="" callId="324bdcb0-c155-44ff-9bf4-
5d23a64baidf"><part identity="davidgitman"><name>David
Gitman</name><duration>2.767</duration></part><part
identity="bagaiev.kostiantyn"><name>Konstantyn
Bagaiev</name><duration>2.767</duration> </part> < /partlist>

3

133 FM

oad

e davidgitmans/28/2017, 121

Le

<partlist type="started” alt="" callld="324bdcb0-c155-44ff-9bf4-
5d23a64baldf"><part identity="davidgitman"> <name> David
Gitman</name> </part><part

identity="bagaiev. kostiantyn"><name>Konstantyn
Bagaiev</name></part></partlist>

- davidgitmans/24/2017, 6:14:08 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>1299</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>1299</duration>

</part>

</partlist>

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 50 of 171

e cavidgitmans/24/2017, 5:52:30 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

ny. By

« bagaley.kostiantyn6/22/2017, 10:50:34 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>510</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration>510</duration>

</part>

</partlist>

» badaiev.kostiantyn6/22/2017, 10:22:04 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

« bagalev.kostlantyn6/22/2017, 10:21:52 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>35</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 51 of 171

<duration>35</duration>
</part>
</partlist>

» bagalev.kostiantyn6/22/2017, 10:21:17 AM
<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>
<part identity="davidgitman">
<name>David Gitman</name>
</part>
</partlist>

e davidgitrnané/20/2017, 5:40:17 PM

The lawyers want it to come from you not them. Otherwise Mike might argue
that we are conspiring

e davidgitman6/20/2017, 5:45:10 PM
Yes.

« bagaiev.kostiantyn6/20/2017, 5:44:27 PM
I need to send email to Mike?

« davidgitmanG/20/2017, 3:37:32 PM

Lindsay asked me to send you an email to send mike the resignation letter.<e_m
ts="1497987443" ts_ms="1497987444746" a="davidgitman" t="61"/>

« davidgitman6/20/2017, 3:37i26 PM

Lindsay asked me to send you an email to send mike the resignation letter
e davidgliman6/20/2017, 1:46:53 PM

<e_m ts="1497958684" ts_ms="1497958685000" a="davidgitman" t="61"/>
» davidighmans/26/20i7, Liaise PM

<e_m ts="1497958673" ts_ms="1497958674000" a="davidgitman" t="61"/>

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 52 of 171

e davidgitmane/20/2017, Lisciaa PM
<e_m ts="1497958652" ts_ms="1497958656000" a="davidgitman” t="61"/>

teat wy hapten ory oy Se ETHEL FOES TP OP eG i. Ae
e gavicgimant/2u/2017, Fi45i55 AM

If you make a Google doc and share it with me I'll be happy to help edit it

e daviagitman6/20/2017, 7.38.02 AM
<a
href="https://www.google.com/search?rlz= 1CDGOYI_enUS736US736&hl=en-
US&ei=6ghIWeuWMMTI-
QG2xKC4Aw&q=resignation+letter+template&oq=resignation+letter+templates
gs_l=mobile-gws-
serp.3..0171k115.0.0.0.5354.1.1.0.0.0.0.0.0..0.0....0...1..64.mobile-gws-
serp..1.0.0.LpZvurGirt0">https://www.google.com/search?riz= 1CDGOYI_enUS73
6US736&hl=en-US&ei=6ghIWeuWMMTI-
QG2xKC4Aw&g=resignation+letter-+template&oq=resignation+letter+template&
gs_l=mobile-gws-
serp.3..0i71k115.0.0.0.5354.1.1.0.0.0.0.0.0..0.0....0...1..64.mobile-gws-
serp..1.0.0.LpZvurGirt0</a>

e davidgitmans/20/2017, 7:37:54 AM

Please use one of these.
e = davidgitman6/20/2017, 10:12:05 AM

<e_m ts="1497967904" ts_ms="1497967906362" a="davidgitman" t="61"/>
e davidgitmanG/20/2017, 10:11:46 AM

<pre raw_pre=""~~" raw_post=""~ °">Dear David,

This is a reminder that &quot;Magento 2.2 Webinar for Developers&quot; will
begin in 1 Hour on:

Tue, Jun 20, 2017 8:00 AM - 9:00 AM PDT

Add to Calendar: Outlook® Calendar | Google Calendar&#8482 | iCal®

Please send your questions, comments and feedback to: dsacco@magento.com
We are approaching maximum capacity for the webinar and it is possible that we
may not be able to accommodate everyone who wishes to attend the live
session. Everyone who registers for the webinar will receive an email with a link
to the recording, so you will be able to access this content no matter how many
people choose to attend the webinar.

How to Join the Webinar

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 53 of 171

1. Click the link to join the webinar at the specified time and date:
https://global.gotowebinar.com/join/2838056498257543169/973988893

Note: This link should not be shared with others; it is unique to you.

Before joining, be sure to check system requirements to avoid any connection
issues.

2. Choose one of the following audio options:

TO USE YOUR COMPUTER'S AUDIO:

When the webinar begins, you will be connected to audio using your computer's
microphone and speakers (VoIP). A headset is recommended.

--OR--

TO USE YOUR TELEPHONE:

If you prefer to use your phone, you must select &quot;Use Telephone&quot;
after joining the webinar and call in using the numbers below.

United States: +1 (914) 614-3221

Access Code: 892-159-527

Audio PIN: Shown after joining the webinar

Webinar ID: 635-166-355

To Cancel this Registration

If you can't attend this webinar, you may cancel your registration at any
time.</pre>

e davidgitman6/20/2017, 10:11:41 AM
Of course
« baaaiev.kostiantyn6/20/2017, 10:11:34 AM
Not sure what can I add or change. Probably you should show this to dentons
e davidgitman6/20/2017, 10:09:31 AM
Can you review this? <a
href="https://docs.google.com/document/d/1dkw6F1RpEM9n6A7JfbZ0ioie-

iAfnSbWMp9DzKkB_XI/edit">https://docs.google.com/document/d/idkw6F1RpE
M9n6A7JfbZ0i0ie-iAfnSbWMp9DzKkB_XI/edit</a>

e davidgitrnan6/20/2017, 9:39:12 AM

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e «CCV. AGSIGNDy Troy 2u/ 2s, Sood. AM

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Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 54 of 171

din hrtaitryun ds SOC OP F TRA ji
ee HeAVvigghiigney AU/AUL?, 9:13:12 AM

<URIObject type="File.1" uri="https://api.asm.skype.com/v1/objects/0-eus-d1-
2a233feb64ca7f8a7d50bfb37dc2a466"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d1-
2a233feb64ca7f8a7d50bfb37dc2a466/views/thumbnail"” ams_id="0-eus-d1-
2a233feb64ca7f8a7d50bfb37dc2a466"> <Title>KonstantynBagaevResignationLet
ter.pdf</Title> received. To view it, go to: <a
href="https://login.skype.com/login/sso?go=xmmfallback&docid=0-eus-d1-
2a233feb64ca7f8a7d50bfb37dc2a466">https://login.skype.com/login/sso?go=x
mmfallback&docid=0-eus-d1-2a233feb64ca7f8a7d50bfb37dc2a466</a><FileSize
v="43579" /><OriginalName v="KonstantynBagaevResignationLetter.pdf"
/></URIObject>

Need to add company credentials. And general review

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arietee g lonek evs SPP A UATE ARS
e bagalev. ostantyna/2u, 2017, 7134:25 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>518</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>518</duration>

</part>

</partlist>

e bagaiev. kostlantyn6/20/2017, 7:26:18 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>518</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>518</duration>

 
Case 1:17-cv-04327-LLS-RWL Document 180-16

</part>
</partlist>

bagaiev OSE fay ngyn6/20/2027, 7.0239 AY |
Wanted to talk to you.

bagalev. kostiantyn6/20/2017, 7702.20 AM

Don’t know what to do.

 

Hello. Yes you mentioned before<e_m ts="1497956536"
ts_ms="1497956514764" a="bagaiev.kostiantyn" t="61"/>

davidgitman6/20/2017, 6:18:01 AM
How's your day going?
bagalev.kostiantyn6/20/2017, 7:01:54 AM
Hello. Yes you mentioned before
bagaiev.kastiantyn6/19/2017, 5:11:01 PM
I understood everything.
bagaiev.kostiantyn6/19/2017, 5:08:30 PM
we can talk later with better connection
bagaiev. kostiantyn6/19/2017, 5:06:05 PM
Judge ordered to return everything
bagaiev.kostiantyn6/19/2017, 5:05:56 P
lost sound
davidgitman6/19/2017, 5:57:58 PM
Please clear txt conversion

davidgitman6/19/2017, 5:57:58 PM

Filed 08/14/20 Page 55 of 171

 
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Please clear txt conversion

e davidgitman6/19/2017, 5:58:13 PM
Please clear txt conversion

e cavidditnan6/iS/2017, 5:06:30 PM
<partlist type="started” alt="">

<part identity="davidgitman">
<name>David Gitman</name>

</part>
</partlist>
© davicgitmans/1e/2017, S:0G015 FM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

a1

e davidgitmané/19/2017, 5:04:53 eM
<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>
<part identity="davidgitman">
<name>David Gitman</name>
</part>
</partlist>

i te ryebig rks SPAN PREG DeSoto pa
e bagalev.kostiantyno/19/2017, 2:58:54 PR

ok

I can't take my phone into the court room. Talk later.

e §«6davidgitmanG/19/2017, 2:48:52 PM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 57 of 171

Thx.
e bagaiev.kostianiyn6/19/2017, 2:48:41 PM
Deal with case first

e bdaegalev. kostlantyn6/19/2017, 2:48:28 PM

© davidgitman6/19/2017, 2:46:20 PM
We will fix wire tomorrow.

e davidighmans/i9/2017, 2:46:43 PM

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I’m here

e bagalev.kostiantyn6/19/2017, 2:46:12 PM

AD

I
e cavidgitman6/i9/2017, 2:46:02 PM
I believe we will come out well.
« bagalev.kostiantyn6/19/2017, 2:45:45 PM

I’m always for the truth

°
S

agalev. kostiantyne/19/2017, 2:45:17 PM
Of course
e davidgitmant/19/2017, 2:45:05 PM

I will tell the judge the truth.

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 58 of 171

 

° PM
Ok. Good luck. Kick their ass.
° canG/18/2017, 2:44:27 °M

  

I'm on the way to the judge now.

   

: So teste ee ee PEN PAG he
mreniony Leyehinnryns fp sory pe Teel
@ DSQaey KOSdaMyno/ ayy Luis, £55010

By the way - I received Payoneer payment

 

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len ieiathenae Df LIRA Ta 9 OA
© cavidgimans/1O/2017, 2:24:26 PM

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2 years ago.
e davidgiimanG/19/2017, 1:17:26 PM

When did Aleksey start with us?

ur

1:15:36 PM

ineyeretenty Lert
e §=DaGdCY. AOS!

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 59 of 171

Is he really involved into documents? I’m nervous again. Don’t see how else can
I help

merveatons bee S44 AD AR
° pagaley.kostle anny nO/io/20l7 7, LiiSsc$s AM

Ok. You are doing this together right? How do you feel about that

ey VARs ANI
Pb . 1 Mio AM

“SAMOS F
w/o /2017,

Leela

 

<e_m ts="1497886609" ts_ms="1497886612239" a="davidgitman" t="61"/>
© davidgimmans/19/2017, Li43:11 AM

<e_m ts="1497886596" ts_ms="1497886597411" a="davidgitman" t="61"/>
e cavicgimang/i9/2017, Li43:O7 AM

<e_m ts="1497886584" ts_ms="1497886584927" a="davidgitman" t="61"/>

davidoltmans

re * + ARA
e davicghmands/lLO/2017, 21142005 AM

In a conference room at Dentons. Brian is working on the case now. He’s asking
me a lot of great questions. Dentons just asked the judge for two more hour to
file the papers. Brian wants to refine Lindsay’s work and the overall strategy.

eek ate Ppa rele ed AA A BAA
Pos si aley pee me dl $4 ,t PPP. Ot ABA
° davicgimans LS/Z01; poh Ey TE

Dentons asked the judge for two more hour to file the papers<e_m
ts="1497886596" ts_ms="1497886597411" a="davidgitman" t="61"/>

Brian is working on the case now. He’s asking me a lot of questions.<e_m
ts="1497886584" ts_ms="1497886584927" a="davidgitman" t="61"/>

e daycgitmanst/1o/20717, 11:56:52 AM
Brian wants to refine Lindsays work.
e uUavicighmans/io/2017, 1i36:57 AM
They just asked the judge for two more hour to file the papers

e cavicigiimang/1O/2017, 11:36:24 AM

ogi
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 60 of 171

Brian is working on the case now
e bdagaiev.kostiantynS/19/2017, 10:57:28 AM
Nice

e §6davidg!

tmané/19/2017, 10:53:21 AM

S

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-cus-
d2-ec77ce27a4ac0a52c1 16d9c1d4345575"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-cus-d2-
ec77ce27a4ac0a52c116d9c1d4345575/views/imgt1"><Title></Title>

This version of Skype does not support photo sharing. Please update to the latest
version, or you can view it in your browser here: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-cus-d2-
ec77ce27a4ac0a52c116d9c1d4345575">https://login.skype.com/login/sso?go=x
mmfallback?pic=0-cus-d2-ec77ce27a4ac0a52c116d9c1d4345575</a><FileSize
v="2773606" /><OriginalName v="SkypePhoto_20170619_10_53_19.jpg"
/><meta type="photo" originalName="SkypePhoto_20170619_10_53_19.jpg"
/></URIObject>

widetre anit Giga? 7S Ans
° daviaginanG/io/2ul/, | 10:53:05 AM

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-cus-
d2-d9701ded6074b783f51f4d7d8b4d81fe"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-cus-d2-
d9701ded6074b783f5 1f4d7d8b4d8 1fe/views/imgt1"> <Title> </Title>

This version of Skype does not support photo sharing. Please update to the latest
version, or you can view it in your browser here: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-cus-d2-
d9701ded6074b783f51f4d7d8b4d81 fe" >https://login.skype.com/login/sso?go=x
mmfallback?pic=0-cus-d2-d9701ded6074b783f5 1f4d7d8b4d8 1fe</a><FileSize
v="1412616" /><OriginalName v="SkypePhoto_20170619_10_53_04.jpg”
/><meta type="photo" originalName="SkypePhoto_20170619_10 53 04.jpg"
/></URIObject>

e davidgitmané/le/20.7, 7:52:38 AM

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 61 of 171

Can you try to edit your comments and assign them to
@lindsay.ditlow@dentons.com

maraloy kactianhmnGiiQimeniy 7S tt 4
e Dagsiey. xosdankyne/iS/2017, 7:53:11 AM

 

kA S
® Pap
Wem. OA AM
e AES AM
e

 

Do you know how to assign g doc comments to someone?
CQINALD “Tendet A

odes aT ed ate doors ft foe aioe BS
e cavidgiman/i9/2017, 7:41:35 AM

Great

hocesiey kostantvnoei Geol? veo: aM
@ Dagciev. KOS YyTo/ toy Ai? pf ISL AM

Y I’m doing comments.

B

cle giede pees ee ia mA “TaD. AD AKA
ee GOVICCRM anny 19/70) /, 38:45 AM

I marked it up.

Never mind you added comments. I see them

fa gy Pye oy

e dgaviegimang/ioZoly, 7:29:52 AM
I don't see any suggested changes in the affidavit. Did you make some
changes?<e_m ts="1497871781" ts_ms="1497871781355" a="davidgitman"
t="61"/>

Bagi ferry omy gee 2 PT ER ABO Fe RO AF
lmao / 19/2017, 7:29:41 AM

 

I don't see any suggested changes in the affidavit

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 62 of 171

° bagaic ny KOSTA by nefiss: 2017 , 4456 AM

Ok. GL

  

nG/i9/2017, 6:44.26 AM

I need to shower and take Shira to school. I'll message as I can.

 

Yes. Today in the morning looks much better. Just check spelling of My and
Aleksey’s name <ss type="smile">:)</ss>

e davidgiirnan6/19/2017, 6:43:45 AM

The updated affidavit is good.

hs

° bagaiev.kostiantynG/19/2017, 6:43:21 AM

Maybe it is possible to sue Mike separately. Later, after the deal is done, and
divorce is finished. Maybe with another lawyer. We can think of that later.

© davidgitnané/19/2017, 6:43:14 AM

I hope to tell the judge today that Mike only brought this suit to bring more
money from BAP

e davicdgtinans/19/2017, 6:42:50 AM
I'm worried about that

e davidgitmans/19/2017, 6:42:35 AM
I know

° bagalev.kostiantyn/1o/2017, 6:42:27 AM
Don’t play with BAP

e bagaley.kastiantynG/19/2017, 6:42:21 AM

Got that.

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 63 of 171

Since there is no operating agreement for CSV or CR maybe we can.
e davidgitman6/19/2017, 6:41:46 Ab

However.
e = davidgitrnan6/19/2017, 6:41:43 AM

The NDAP operating agreement has a clause that prevents us from going after
lawyer fees.

6/19/2017, 6:41:24 AM

 

e bagalev.kost
I know. Dave. I’m trying to support you.
e davidgimans/19/2017, o:41:13 AM
We can't.

ad ac he Ait Ai
cgay eno/ Los: ZO L/, 6:41:08 AM

© Gayl

  

Only casualties.

Then we'll sue Mike to cover the expenses <ss type="rofl">(rofl)</ss>
e davidaltmanst/19/2017, 6:40:58 AM

There are no winners in war.

 

Go on. We'll win all of this.

« bagaicy.kostantynio/19/2017, 0.40/10 AM
Ok good

e daviagitmans/19/2017, 6:40:06 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 64 of 171

Yes.
e davidgitmans/19/2017, 6:40:01 AM

They think the case is a groundless attempt to get more money from CPK sale
e bagalev.kostiantyn6/19/2017, 6:40:01 AM

Did you sent them Brief?

« bagaiev.kostiantyné/19/2017, 39:41 AM

Right now we didn’t hear any suggestions from them. They even don’t ask
questions.

° bagaie Ostia tynG/19/20 17,8 6:39:15 AM

Just ask them for transparency. How they see situation. What they think about
all of that.

e davicgitman6/19/2017, 6:39:08 AM
Is there anything specifically you would like me to ask and communicate to
you<e_m ts="1497868734" ts_ms="1497868734785" a="davidgitman"
t="61"/>
e cavidgimant/i9/2017, 6:35:54 AM
There anything specifically you would like me to ask and communicate to you
e davidglimans/ie/2017, 6:38:44 AM
Okay
e Sagaiev.kostiantyno/1S/2017, 6:34:40 AM
It costs too much <ss type="smile">:)</ss>
e davidgiivnans/19/2017, 6:13:11 AM

Would you like to talk with them?

e bagalev. kostiantyne/19/2017, 6:37:34 AM

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 65 of 171

I see. Dave, ask them how they see on the whole situation please. Ask them for
their estimates.

e davidgitmans/19/2017, 6:36:29 AM

Court is at 3pm EST.
e caviagitmans/13/2017, 6:36:19 AM

I will be at Dentons office around 10:30am EST.
e bagalev.kostiantynG/19/2017, 6:35:45 AM

Ohh. Ok.

e« davidgitman6/19/2017, 6:35:30 AM

e davidgitman6/19/2017, 6:35:07 AM
I'll go with 3 Dentons lawyers.

* bagalev.xostlantyne/1i9/ 6:35:01 AM
Ok thank you.

° davidgitmans/19/2017, 6:34:52 AM

There was an issue with it. I will call the bank this morning

3

galev kostlantyn6/19/2017, 6:34:50 AM

© bag

4

On 6/19/17, at 1:33 PM, David Gitman wrote:
> I will then go to court in the afternoon to explain to judge as much as I can.

You'll go with Lindsay right? Not alone?

e
rene

gagaiev. kostiantyn6/19/2017, 6:34:26 AM

 
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Dave, the payment to Russian’s Modulbank didn’t reach it yet. Can you double
check it’s status? Usually it is arriving eaerly in the morning next day, or even
same day when wired.
e davidgitman6/19/2017, 6:33:54 AM
I will then go to court in the afternoon to explain to judge as much as I can.
» bagadiev.kostiantyn6/19/2017, 6:33:31 AM
Ok.
e davidgitman6/19/2017, 6:33:28 AM
I'm going to Brian's office this morning.
e bagaiev.kostiantyn6/19/2017, 6:33:27 AM
I've added a couple of comments. No more to add
e davidgitman6/19/2017, 6:33:17 AM
You can look at the history or the comment button to see this.
e bacaiev.kostiantynG/19/2017, 6:33:14 AM
Good.
e davidgitman6/19/2017, 6:32:57 AM
It's because Lindsay accepted or rejected the changes.
e bagaiev.kostlantyn6/19/2017, 2:02:58 AM
‘Hello. I don’t see markups, but I see that it has some changes.
« davidditran6/18/2017, 8:15:24 PM
I spoke to Brian. I'm gonna go to their office in the morning after they review
the brief that Laura wrote and the mark ups we made on our affidavit. I'll then
go to court in the afternoon to explain to the judge that I'm sorry if I didn't fully

comply with his orders but that has been fixed and I will comply going forward.

» davidgitman6/18/2017, 6:20:54 PM
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Laura and I marked up the Affidavit, <a
href="https://docs.google.com/document/d/1zbcha7_DIUOdUcFxI3N8bnibZK8wl
2wWa4xzRQ1EHfE">https://docs.google.com/document/d/1zbcha7_DIUOdUcFxI
3N8bnibZK8wi2wWa4xzRQ1EHfE</a>

e davidgitman6/18/2017, 4:18:40 PM
Agreed

e davidglimand/18/2017, 4:16:36 PM
Yes

e bagalev.kostlantynG/18/2017, 4:16:53 PM

It would be better if she would read brief Laura made today

cavieglimans/i8/2017, 4:18:29 PM

I’m almost done going through it

e davidglirmané/is/2017, 4:16:07 PM
Lindsays work is not bad

e davidgimans/i8/2017, 4:17:59 PM
Thx

° bagdiev.kostiantyn6/18/2017, 4:18:45 PM
Seems correct

° cavidgltmans/is/2017, 4:16:32 PM
I joined that call

e davidgitman6/16/2017, 4:10:27 7M
March 6th

e degalev. kostlantynG/18/2017, 4:16:17 PM

just check AWS account
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 68 of 171

e« davidgitmans/18/2017, 4:16:07 PM
Thx

e bagalev.kostiantyn6/18/2017, 4:15:37 PM
Or March. Not sure

« bagaiev.kostiantyn6/18/2017, 4:15:31 PM
On sprint call. It was April I think.

e bagaiev.kostiantyn6/18/2017, 4:15:15 PM
Movement to NDAP - yes

e davidgitmans/18/2017, 4:15:16 PM
<ss type="laugh">:D</ss>

e davicgitmans/18/2017, 4:15:08 PM

‘t was on a sprintcall<e_m ts="1497816897" ts_ms="1497816898845"
a="davidgitman" t="61"/>

» bagaiev.kestiantyn6/18/2017, 4:15:06 PM
I exported slack conversations just in case <ss type="smile">:)</ss>
« davidgitman6/18/2017, 4:14:58 PM
Gg It was on a sprintcall
°« bdagalev.kostiantyn6/18/2017, 4:14:51 PM
3rd of Oct 2016
e davidgitman6/18/2017, 4:14:41 PM
Do you remember when I first mentioned it?
e bagalev.kostlantyn6/i8/2017, 4:14:38 PM

No we used the same slack from oct2016

 
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e davidgitman6/18/2017, 4:14:21 PM
Tt wasn’t slack?

e bagaiev.kostiantyn6/18/2017, 4:14:05 PM
We focused on AWS

« davidgitman6/18/2017, 4:13:35 PM

Do you remember what the first service we moved out of NDAP to prepare for
the sale?

e« bagaiev.kostiantyn6/13/2017, 2:42:15 PM
<partlist type="ended” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>
</partlist>

« bagaiev.kastiantyn6/13/2017, 2:42:15 PM
<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>
</partlist>

e bagaiev.kostiantyn6/12/2017, 10:49:27 AM
We will in any case

e davidgitman6/12/2017, 10:49:26 AM

I would like to leave you and A with a few options to think about overnight,
tonight. Should we go back to CR they way things were (I might step away in
this case), fight in court, start a competing product, etc.

°« davidgitman6/12/2017, 10:48:04 AM
I see the first day as tough as we should all talk about future.

e bagaiev.kostiantyn6/12/2017, 10:47:26 AM
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Making us deptors of US goverment is out of any acceptable things

 

 

 

This is type of strategy. I’m not sure what is a better strategy with people like
Mike.

. AG/S/2017, BACB? PM
No problem<e_m ts="1496691634" ts_ms="1496691635018"
a="bagaiev.kostiantyn” t="61"/>

 

No problem.

© davi

 

YAGI SO PM

 
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Hope they will be not that tough <ss type="smile">:)</ss>

    

 

 

  

I’m not sure what time is my time right now<e_m ts="1497278675"
ts_ms="1497278675072" a="davidgitman" t="61"/>

e
Train

e ocavicigh TO eas

 

Did you fly?
© GAC ey Ke POS 17 AM

 
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Just reached Kharkiv <ss type="smile">:)</ss>

 

 

  

 

 

° Lasso? AM
cool
mibryy a ey ft “IOSF Fedo ARS
° siiman6/l2/2017, 1o:42:59° AN
Yes
e
. 59 AM
bey 4. LP AS
ee 0 , B25? AS
No Mike here
ferro tens bepyereteey bei Pa PIO 9 Ci} he
e boagaev kosdantyaG/lefeul/, V003 oh
Yes
°
e

 

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>110</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>110</duration>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20

*

</part>
</partlist>

nanaioy keetentynG/Ofoi?. 74-04 aM
De CRICY OSTA Cy Toy fZOL?, Pee Ed RADY

WO

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

badalev. kostlanivnG/8/2017, B:30.5)
<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>1015</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>1015</duration>

</part>

</partlist>

tans Lemoine At FO POEL?
PO MOSLEY oy ay Zu bs,

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Rea ‘i ated

 

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

Hoiciriikee ary fo Poot TA PQ DRA
davidgitmians/e/ 2017, 2:05:29 FN

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>247</duration>

</part>

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<part identity="davidgitman">
<name>David Gitman</name>
<duration>248</duration>
</part>

</partlist>

 

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

 

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

 

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

Poy
° Lata ¥

 

 

I’m on a laptop
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 75 of 171

e beadiev. kostiantyng/S/2017, 3:45:97 PM
what should I click here <a
href="https://monosnap.com/file/834bMtPEsbhGLZZQ7WHLj2up2gwgYD"> https:

//monosnap.com/file/834bMtPEsbhGLZZQ7WHLj2up2gwgYD </a>

rooulsindbroanG fe for y Bh 72 OM
. davicngit Piha} 5/20 L fy, APPL a

Are you on mobile too?

   

ihre PLP DOT Boke
CHU Os oy aut Ly poieees

adele
t

My phone is charging

 

hoe qe tess Ursckh LP POF cM

e §$DCASY MOSHE. Wop af 2u ord
don girlaiber ame (IDF Bede 1 DM

© «CSVICGMano/S/dulé, Seok PM

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-eus-
d4-db0dd0faa0ba7cbecb52d8a1e804b979"
url_thumbnail="https://api.asm.skype.com/vi/objects/0-eus-d4-
dbO0ddOfaa0ba7cbecb52d8a1e804b979/views/imgt1"><Title> </Title>

This version of Skype does not support photo sharing. Please update to the latest
version, or you can view it in your browser here: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-eus-d4-
dbOdd0faa0ba7cbecb52d8a1e804b979" >https://login.skype.com/login/sso?go=x
mmfallback?pic=0-eus-d4-db0dd0faa0ba7cbecb52d8a1e804b979</a> <FileSize
v="1641147" /><OriginalName v="SkypePhoto_20170605_15_44_29.jpg"
/><meta type="photo" originalName="SkypePhoto_20170605_15_44_29.jpg”
/></URIObject>

rion sekotbyri eu ES POPE Beh Oa DRA
e 6GaVICcHiTianayo/ cud /, Sebi 2 OP

I'm waiting for you.

L, len EL sbion ota apydl PEL LOPE Theda fe>? OD
e OSC KOSIATAIIO/ Sy AU /, Iara

Ka mre ke PS

Can we talk later? Probably you are on your way somewhere

bang wen y r pte bat om, nee rr pa Poe PR OF ws Awe, et LYASE
by rpimy ee mabye PROT SG sede ert
° DAQGIEY, ACSI! 2B YOBS Oo! LAP LF TERR  TES

No rush.
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.
Can you use <a
href="http://www.uberconference.com/dgitman" >www.uberconference.com/dgit
man</a> | Dial in: 646-847-0026 | No PIN needed

° BAZ 4G PN

e 342037 OM
Yes.

e davidgitmana/S/2017, 3:42:53 PM
Maybe he will see that he can't rip everyone off infront of you.<e_m
ts="1496691738" ts_ms="1496691739077" a="davidgitman” t="61"/>

. feOL?, 2:42:29 PM
Can we have a call?

e cavidglimanc/S/2017, 3:62:19 FM
Maybe he will see that h can't rip everyone off infront of you.

e oe kos 2017, 3:42:06 2M

  
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 77 of 171

I didn't mean to make things worse.

 

 

  

 

 

 

.
Now he can deny all this, and accounting looks like a very small part of all of this
° U7, 2a: 35 PM
Right. But here we have 13 points. All I wanted is the reason of why not make
accounting.
» davidditnané/5/2G17, 3:38.26 FM
I thought you wanted to see that he won't do accounting and is taking
advantage of Alice, SRH and myself.
° ave neynG/S/2017, Ba 7i34 PM
. POL7, E3615) PM
With this email you mentioned that you gave all the info to us.<e_m
ts="1496691406" ts_ms="1496691406937" a="bagaiev.kostiantyn” t="61"/>
» bagaley.kostantvn6/S/2017, 3:36:46 FM
With this email you mentioned that you game all the info to us.

   

checking
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 78 of 171

 

 

 

 

 

Thanks <ss type="smile">:)</ss>
Dave, I’m going to the beach for the last time here. Then I'm going to eat
something. I'll be back in about 2 hours.

© be myG/S/2017, 12:20:38 FS
UA company - means that I should apply for Visa in Ukraine with Ukrainian
passport, after I was applying in Russia with Russian passport. That looks very
suspicious for US, Lets talk in person about that.<e_m ts="1496679630"
ts_ms="1496679632319" a="bagaiev.kostiantyn" t="61"/>
UA company - means that I should apply for Visa in Ukraine with Ukrainian
passport, after I was applying in Russia with Russian passport. That looks very
suspicious for US. Lets talk in peron about that.

e begaley.kostiantyn6/5/2017, 1219018 PM
I know. I need visa for this. Let’s discuss this next week

e daviigitrnanG/S/2017, La.17146 PM
I need you in NYC from time to time to talk with investors, customers, etc

 

Yes I heard of that
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 79 of 171

 

If you headquater the company in Ireland there is almost no tax. Apple is
famous for doing this.<e_m ts="1496679408" ts_ms="1496679409519"
a="davidgitman" t="61"/>

  

If you headwater the company in Ireland there is almost no tax. Apple is famous
for doing this.

  

That's fine. Don’t worry.

teen ey AIP EP od et he tm BAA
Cvano fy Auf, LAT at is Bl

Lo ed
PEDALS
® CE

VLE
=?

Someone will open corp in UA

 

Dave, what if you outsource development to Ukrainian company. Should
company pay US taxes too?

 

[2017 , E2044:
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Right. That's what I’m talking about.

 

foaylcicn vos PSF
» CEMICGH: BO i

  

You would never see anything from sale

 
 

(fS/POU?, LAL GL Fm

wtf

 

 

 

 

 

°
On 6/5/17, at 6:10 PM, David Gitman wrote:
> What do you mean lied about share?
He sent me an email in 10th of October last year, that I'll pretend on 5% in case
of CR sale, or extra income. Basically if these taxes are not paid that makes no
sense for me.
.
« davidgitmans/S/201L7, L210:49 PM
I’m going to send an email to Mike.
e cavidglimans/s/2017, 12:amhaa PM
What do you mean lied about share?
° Lé:i012 PM
So basically that means that Mike lied to me about share too. Just lied.
e caviagitnn C2108 PM

 

Look in upwork contract. They say taxes are up to the parties to do
correctly<e_m ts="1496679004" ts_ms="1496679004998" a="davidgitman"
t= "61"/>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 81 of 171

 

On 6/5/17, at 6:04 PM, Konstantyn wrote:
> What I mean that at current point I shouldn’t have any debts to US

Someone should clarify this. I was independent contractor working for you and
others. Should I pay taxes to US?

 

fom delete (SOR FT Dee DS Pi
e =ClWiccHimano/na/cuis, 1208225 PM

Let’s think about how we should operate going forward.

KPELF UAH Pee Can
ais} ZO : 12:9 Pl Pe

bt

 

I’m trying to prepare you for any issues.

ey SPF PE RO DAY
QUEM DP éALL Ye, 12 OF 39 PM

 
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This is your risk.

 

He could have had a conversation about it<e_m ts="1496678838"
ts_ms="1496678838512" a="davidgitman" t="61"/>

 

From what I just read and copied here - they can looks at these money but can’t
pretend

   
   

mani Pye fo Ag. te DAE
PPC i) 5/4014, iA (Gt oo MS

.
e

rice fd Verran Oe bey ha OM
e@  COMIOINUTSMOs OF GUL! ha a

Will the government look at the money sent to you in the past?

 
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Let’ say there is a sale of CR.

boc thang RPP PIAA FN
cles ieieneraa mk JE PISA? PPE ea 4 TERA
e@  OSICCpIN GOs 3/7 2OL?, TASS PM

In my opinion CSV should pay these taxes

 

But since now I probably should be an employee and pay taxes

P205102 Ps

Be an tt awh

 

 

There is a difference. And in US both pay taxes.

ley leering Se TO DA
lay kostaniynG/S/2017, LA0ar19 PM

 

On 6/5/17, at 6:03 PM, David Gitman wrote:
> What happens if CR takes on investment?

On 6/5/17, at 5:59 PM, Konstantyn wrote:
> And since now I can be your employee

fees gipiegi bop PPS AE yeh PP MAA
e )§6cCayvinglirnal GfS/2017, Lae ds Pe

Lagree 100% with you<e_m ts="1496678605" ts_ms="1496678606321"
a="davidgitman" t="61"/>

eo ben edetem gydag gen ht SIO POP AF Me MO RA
° v xostlengynb/S/201 7, 1206000 PM

 

There should be some formal difference between independent contractor and
employee

 

What happens if CR takes on investment?<e_m ts="1496678630"
ts_ms="1496678630665" a="davidgitman" t="61"/>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 84 of 171

   

 

 

 

Basically, why I should pay any taxes to US if I had no benefit from this. E.g. I
had no protection of being fired due to sexual harrasment <ss
type="facepalm">(facepalm)</ss><e_m ts="1496678557"
ts_ms="1496678558431" a="bagaiev.kostiantyn” t="61"/>

° OLY, Le:02:38 PM
Basically, why I should pay any taxes to US if I had no benefit from this. E.g. 1
had no protection of being fired due to sexual harrasment <ss
type="facepalm">(facepalm)</ss>

° wkastianhyng/S/2617, 12:01:30 PM
I know that it is a usual thing when independent contractor is being hired after
he worked for a while

e bacaley. kostiantynG/a/2007, 12.00.84 FM
I actually was telling everyone that I’m a freelancer

e ocd 2047, 12:00019 FM
HR is telling me that we can be liable for this.

e bagaley.costl LP, LE Soa9 AM

 

And since now I can be your employee
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 85 of 171

7 taste

fr Peed OTe ST, ABA
CHOP ALLS . bed Hd APS

 

So I was independent contractor.<e_m ts="1496678380"
ts_ms="1496678381539" a="bagaiev.kostiantyn" t="61"/>

  

Lem epey toys e tees
ea AOS
an

 

os

aieV KOS G/S/2017, L591 AM

So I was independed contractor.

yn f5/2047, 11:59:3

2 Fig ded eet as

 

It can be our way. You found me, and I was independent contractor. I didn’t
have work hours, paid vacations etc. I could do any other job which can give me
income, at some time it actually was like this.

 

Pay the worker as a legitimate independent contractor. This is risky and usually
not the best route. Say an organization needs a salesperson in England but
doesn't want to register there, so classifies the salesman as an “independent
contractor.” If that’s such a great idea, Dowling asks, then why not make all your
U.S. salespeople independent contractors, since you'll save on Social Security,
employee benefit contributions and the like?

The answer is that you can’t because they're performing as employees. Dowling
said there’s general consensus around the world about legitimate contractor
classification. If the person has set work hours and receives benefits and
performance evaluations, then he or she is an employee.

A salesperson who represents product lines for a variety of companies in addition
to yours might be able to be paid as an independent contractor, but if someone’s
title is executive vice president and the person is on your organizational chart,
that’s not going to fly, Dowling said iteistest’From your first link

eR a RT

© davidglimans/S/201.7, Lissiiao 44
<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>398 </duration>
</part>
<part identity="davidgitman">
<name>David Gitman</name>
<duration>398</duration>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 86 of 171

</part>
</partlist>

 

The more I learn here the moe I’m <a href="https://www.irs.gov/businesses/u-
s-tax-withholding-on-payments-to-foreign-
personsworried">https://www.irs.gov/businesses/u-s-tax-withholding-on-
payments-to-foreign-personsworried</a>.

 

<partlist type="started"” alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

 

e deviddimanc/S/2017, Li:2g:02 AM
Because Mike should have paid taxes on your salary.
© OO gH gnanG/S/2017, Ling2i47 AM

We need to be careful here.

   

   

e fe stlantyn6/$/2017, 11:22:43 AM
Just checked it - I never saw such form<e_m ts="1496676156"
ts_ms="1496676158404" a="bagaiev.kostiantyn” t="61"/>

° i kostlantyn/S/2017, iiic2:36 AM
Just check it - I never saw such form

e 5 Tee ee AM

 
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I’m 100% sure

 

T have no idea what is it <ss type="smile">:)</ss>

wae WYER

mM OAR
: ODO AM
ae PARSE

 

 

e i By dee hd oD
Are you 100% sure

. | ynS/5/2G47, 11:20:52 AM
No

.

 

Sure

 

<a href="https://www.irs.gov/businesses/u-s-tax-withholding-on-payments-to-
foreign-persons">https://www.irs.gov/businesses/u-s-tax-withholding-on-
payments-to-foreign-persons</a>

pee fea oe od a gd ue ARS
ween de fin Psy 2 ' fe $C past
manG/5; AMES, ba OD AP

 

<a href="https://www.shrm.org/resourcesandtools/hr-topics/global-
hr/pages/paying-employees-

abroad.aspx">https: //www.shrm.org/resourcesandtools/hr-topics/global-
hr/pages/paying-employees-abroad.aspx</a>

om Coeweeed meee pat PI PBF
BY KOSUATHYDNG/ Bf2UL%, LALA fio

mo

Kha
APY

 
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I want to understand why I should pay US taxes in addition to Russian ones

y

  

 

 

 

. wwnGg/5/2017, 11:17:25 AM

e
<a href="https://www.irs.gov/individuals/international-taxpayers/taxpayer-
identification-numbers-tin">https://www..irs.gov/individuals/international-
taxpayers/taxpayer-identification-numbers-tin</a>

e  Degaley PASSO AM

e

e

e

e dawldgitmané/5/2017, 1i:ia:25 AM
I mean to write “compliant”

s

 
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How can I pay US taxes if I don’t have residency?

t

 

 

Are you open to paying US taxes so we can be compliant? We can raise your
salary to help compensate for taxes. This will also make the visa process easier.

fens benetianre ce stig SOE AR
ey, MostlaniynG/5/2017, 83:01 AM

 

 

 

aftmenG/S/201 7, oseioe ARS
§
I'm on the street
e davidditmans/S/2017, 8:37:29 AM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>282</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>284</duration>

</part>

</partlist>

5 sO ast AA
ar 324s AM

 

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name> David Gitman</name>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 90 of 171

</part>
</partlist>

lemon teas berebionedty pre PO PL oF Ba «
e eGcuev SOSUA VO o/c se, oad!

skype lags

 

<partlist type="ended" alt="">

<part identity="davidgitman">

<name>David Gitman</name>
</part>

</partlist>

 

<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

bom» omy betsy wy oekel
© Hage kosth

MA PPO Geb OR AKA
wey eet FE : Bee Ee AZT
wynbs/s; 204/, S:31:33 AM

   

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>25</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>25</duration>

</part>
</partlist>

Beye pra en Toy gp Lepnenbetes onda pe fl PIN PUP ET OO Ce a ERD RRA
© DOSGGleV SOSdaniyno/ B/ZO17, rok kto AN]

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 91 of 171

</part>
</partlist>

 

<partlist type="ended" alt="">
<part identity="davidgitman">

<name>David Gitman</name>
</part>

</partlist>

 

<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

he af £07 frye. a eo, Bede I “t & Sat
} yee wef $7 4 aft FTE dh EL ESE
i ict WOpOSPAW Es, Gib Lt Patt

 

And reset more passwords<e_m ts="1496665273" ts_ms="1496665274000"
a="davidgitman" t="61"/>

lee eat dX USP eBid A ANA
tranG/Sfeol?, Gr2i:14 AM

 

And reset more passwords

 

I will wipe mine.

 

feu siptox thay ee IPOS OO
e@  CEVICIORTT TM as gle, &

ariaioys banctiunty ni fe Ponte fora AN
ee DAQMOCY KOSHATCYTIOY of POT? OA ARM

Got that.

 

oo AM

 

 
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<URIObject type="Picture.1” uri="https://api.asm.skype.com/v1/objects/0-eus-
d2-9288be7594809bfebi5e3f28859582aa"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d2-
9288be7594809bfeb15e3f28859582aa/views/imgti"><Title> </Title>

This version of Skype does not support photo sharing. Please update to the latest
version, or you can view it in your browser here: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-eus-d2-
9288be7594809bfeb1 5e3f28859582aa">https://login.skype.com/login/sso?go=x
mmfallback?pic=0-eus-d2-9288be7594809bfeb 15e3f28859582aa</a><FileSize
v="2288037" /><OriginalName v="SkypePhoto_20170605_08_20_35.jpg"
/><meta type="photo" originalName="SkypePhoto_20170605_08_20_35.jpg"
/></URIObject>

h su lees c Os 27 Ake
e Sagdlev. kostlantyna/S/2017, 6:20:37 AM

I’m afraid of our laptops being compromised

« davicgimant/S/eol/, o20i23 AM

yo “Fy OU AKA
« daviagimans/S/2017, 620019 AM

Was the same on the call?

wes omy oredbel mn cadena PET PORE TPR OD Te de A RA
yey enon bet uebiom pyle prs PTR TR be THe “fh
« bacslev.koshantyng/5/201?, a:20:15 AM

Dave - better talk in voice

« bagdiev.xostlaniyn6/5/2017, G:19:33 AM
Threats

e bagalev.kostiantyne/8/2017, 3:19:50 AM

That's all he does in all his latest messages

eer ff 2°97 g464 Be

e daviigimanG/S/2017, Golebs AM

un

What's the point of telling you of a threat?
« bagdiev kastiantvno/a/Z017, igo AM

ak ee

Like keep working on CR, but don’t do anything.

 
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2 Ce B00 AM
Engineering has risks too. But they don't deal with human emotions, as
much.<e_m ts="1496665029" ts_ms="1496665029978" a="davidgitman"
t= "6 1"/>

2
He told that you are not going to contact him and thus he has only “legal”
option, which he doesn’t want to use.

e BPA? AM
What was his plan

e aley. kostiangynG/S/2017, biel AM

°
Are there any more details you can share about your conversation. Any questions
he asked. Anything?

e degdey.nostiantyna/S/2017, & lo:4O AM
In business you take risks.

e cavidghtmant/S/Z017, 3:16:22 AM
That's the difference between engineering and business

° Hi 2O1F, BOLesL TL AM

 
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It's hard not to take action

 

    

e Te] AY
Usually when I have some issues which I can worry about - I know that I can do
something to improve situation.<e_m ts="1496664907"
ts_ms="1496664907573" a="bagaiev.kostiantyn" t="61"/>

. ar KOSdaTIO L017, S15:07 AM
Usually when I have some issues which I can worry about - I know that I can
something to improve situation.

 

Maybe a bit.

Sony tetesibeey a PPT? Oe. 9. ARN
e davidgitmang/5/2017. 8:12:43 AM

 

 

Great.
*
Yes.
e davicgitmans/5/ Gi2i27 AM
Okay. Feel better?
e pageley. xestlaniyne/S/2047, 8:11:54 AM
Mike just called me. He didn’t asked any questions. Just asked not to do anything
until things are being sorted. That's it.
0 02 POF, 7 LE56

   

Is also a good person and easy to work with

 
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Whwan I met in Kiev I liked him. He looks open.

ma tiplplera a ALISA Cet Tene ARS
. cdavidgiimel 16/5. £3 Lf, foueioo AN

Well you're going to have me for 30 hours a week

 

Drill him when you meet him. Make sure you like him. I think he's amazing

    

. hostiantynG/S/2017, 7:is:S
I just not used to discuss current issues with someone except Alexey
. av kostianl L254 AM

   

 

I asked him to join us in Kharkiv next week. He will be there for a few days<e_m
ts="1496661146" ts_ms="1496661146956" a="davidgitman" t="61"/>

° Poi 2239 AM

 

ar foe

On 6/5/17, at 1:12 PM, David Gitman wrote:
> I'll shut up and let you work.

No-no-no. You need to talk to me to get into our current issues <ss
type="smile">:)</ss>

hd
nN.

nibrro ee ALP aoe ,
Gimanafe (2017, 72:

 

I asked him to join us in hearty of next week. He will be there for a few days

eo Peat amg (PIA P Ff Ota AM

© cavidguimants/Z0L/7, Migid AM
Armenia.

. O17, FADO AM

 

I'll shut up and let you work. I'll get ready for my day. I'll be in the office in
about two hours after I take Shira to school

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 96 of 171

 

 

 

 

  

 

 

  

° 7LEISS A

e bedalev.icos 7123S AM
Dave, we still have a lot of bugs in eBay integration which are known. Now with
account you gave we can debug and fix them. Let’s meet and discuss.

e

e

e
Aha got that. We need part time QA, we need another developer, we need
marketing

°

° igmanG/S/20L7, 7k

e

s
I want to bring in Aram for QA.

e begaley kostlantynG/s/2017, 7:

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 97 of 171

Alexey was dealing with this, and he told that there is an issue with cookies in
safary, and that he made a solution

 

I&#x27;m proud of myself for being able to debug the issue just by knowing a
few facts <ss type="smile">:)</ss>

 

Freshdesk guys were testing our iframe app

  

SPURL Peo Ana
SAGLY, AOE2S AM

wetiamhy ng Pl PON? eM Oe ane
EY AQ] 5f20L fy €:0U0R AD OM

AGL

   

15 Pe CO. IO ARS

° A, AGT AL AR!
My ns
a dS BSE
e OO PAY

 

That we had a cookie issue.

 

Lore PRA eeepc? AS
stlantyna/S/2017, 7207157 As

On 6/5/17, at 1:07 PM, David Gitman wrote:
> And I didn't even know that <ss type="smile">:)</ss>

What exactly? <ss type="smile">:)</ss>

eked oy eed fof ce

ey ye bees meyer fy ID Pf AI AeA
© v Kostiontyno/S/201/, 707145 AM

 

We also do screenshare through <a
href="http://www.appear.in/channelreply">www.appear.in/channelreply</a>
tool when needed. To make a demo, or to help setup and solve issues<e_m
ts="1496660820" ts_ms="1496660821055" a="bagaiev.kostiantyn" t="61"/>

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 98 of 171

 

 

 

 

 

e P0730 AM
Most probably. Alexey mentioned he was fixing something related to
cookies.<e_m ts="1496660845" ts_ms="1496660846180"
a="bagaiev.kostiantyn" t="61"/>

° de (S017, 7:07:04 AM
We also do screenshare throught <a
href="http://www.appear.in/channelreply">www.appear.in/channelreply</a>
tool when needed. To make a demo, or to help setup and solve issues

° baggiev.kc

 

fous ieterierwrma ce PIP DO CP eye eS ARA
© Oavicghiyian MEf20L7, 7060S AM

aropie Yretinnkinas BPS POAT Feed dD BRM
° baggie, OSTEO af of er h /, POUR ARS

 

And now customer complains that in Desk sometimes app doesn’t load. They
need to clear cache

3 ee fe Pee ty : Aa
Vy aoe arity fay fet? : Pep yee 4A ANS
e ae HOC Aa no; a Al} Le ; Piet LAR ARS

aya

nal
he

Nice.

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 99 of 171

bod oy hore PE PONE TALS ARS
idagltmans/5/2017, 7:06:04 AM

 

 

 

 

   

Ah.
° , #20830 AM
If Mike have nothing to hide - then why he doesn’t accept accounting.<e_m
ts="1496658665" ts_ms="1496658665436" a="bagaiev.kostiantyn” t="61"/>
e GE 17, G34
Got it.
e aca TY A

 

?

On 6/5/17, at 12:31 PM, David Gitman wrote:
> Why would it be any different for you if the lawyer replies to Mike's email
instead of me?

No problem. I just mentioned that it should be a reply to the email.

 

Srp of
Py PES ay
5 ef a af fo

 

Why would it be any different for you if the lawyer replies to Mike's email instead
of me?

 

If Mike have nothing to hide - then why he don’t accept accounting.

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 100 of 171

 

Dave, I may be wrong. Your lawyers know better what to do. But for me it is
logical step. And for Alexey too.

ays FEIT POF ARS
Wy 2, QZ ae APS

 

 

I might ask him to send the request and put you on the email. This might be the
best way to show strength in asking for an accounting.

 

Yes, that’s what I’m talking about.

Go meget Ath
OLY, GZ7 105 AM

 

Mike might behave differently if you are on the email.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 101 of 171

 

Dave, it is not possible to move customers from 1 paypal account to another
without asking them to resubscribe <a href="https://www. paypal-
community.com/t5/About-Products-Archive/Moving-subscriptions-from-one-
account-to-another/td-p/433141">https://www.paypal-
community.com/t5/About-Products-Archive/Moving-subscriptions-from-one-
account-to-another/td-p/433141</a>

 

© devidditmanc/5/2017, 6:19:01 AM
Good.

° 16:08 AM
I did

° PS E8004 AM

POPS DE Bt oS ABS
fSfA0L?, OFLE04 AM

 

Just wake up earlier
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 102 of 171

 

 

 

®
e davidgitman6/5/2017, 6:16:44 AM
I had to take a pill to sleep
° Sf2O17, @1S.42 AM
°
.
°
e
.
.
°
°

 
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I want to get over this bump and get excited again about future.

 

What's the worst that can happen?

tema (APO Sat yy DAA
lemane/4/2017. Gi d:G? PM

 
 

 

I'm going to sleep

4 ay EY

e cavidglrnans/a/2017, 61 Dio) Ps

If you want to talk and it can't wait until tomorrow, txt or call me.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 104 of 171

2 OM
aa, PORSL

 

 

se PAPO Sede? Oba
stiartyne/Af2017, 6:92:51 FM

 

On 6/5/17, at 12:00 AM, David Gitman wrote:
> Lmk if I should bring hardware.

Let's get things sorted before. I feel comfortable here on 2013 MBP. Just need
another monitor when not on my iMac <ss type="smile">:)</ss>

 

  

ynG/4/e5l7, S600:

href="https://monosnap.com/file/rPEqE6gamcdBpdi FjPmIWxiAR8uoyU">https:/
/monosnap.com/file/rPEqE6gamcdBpdiFiPmIWxiAR8uoyU</a>

 
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. 5:59:54 PM
Ido
° HBO 144 PM
I don't remember
e bDacale sYantyrG/s/2017, 5:59:37 7M
On 6/4/17, at 11:59 PM, David Gitman wrote:
> I might wipe my laptop
New macbook Pro’s looks nice <ss type="smile">:)</ss>
<a
href="https://monosnap.com/file/FVBDe66NOYUQKWY Uut7qKZUAtOLPHU">https
://monosnap.com/file/FVBDe66NOYuQKWYUut7qkZUAtOLPHU </a>
e = Dagsiay cost 33 PM

 

No sorry 4 hours
e badalev.kostlantynG/4/2017, 5.57:4

It is 1 hour gap.

 
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We all knew that there will be no trip on Tue - your afternoon.<e_m
ts="1496613273" ts_ms="1496613274468" a="bagaiev.kostiantyn" t="61"/>
e daviddlimanc/4/201/,

 

Yes. This email and others emails through lawyers have information that he
should not have.

© bagaiev.kostiantyn6/4/2017, 5:53:27 PM

Mentioning that you are going here.

Ieee (AAPOR mame mag
e daviddlimans/4/2017, 5:53:20 PM

 

 

e ERM
fon omy tp mek *
© 08¢ costlariynG/af2ot?, S:53:00 3

I don’t think Laura.

  

see geeoe eS
LY, 8352735 FM

e davidgiimanG/</2
Some emails to texts to Laura ?

O-9C) BR
H 2209 PM

 
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Dave, think of how Mike could get known about your first idea to flight here.
Whom you told that you are going to Montenegro on Thursday.

 

Yes, the information is public. However Michael knew about the company set up
before the information was public

te aye SL PM

 

Dave, the info about new company is in public right? Is it possible to fi nd e.g. all
your companies? Or all companies with Channel Reply in their name?<e_m
ts="1496612859" ts_ms="1496612861569" a="bagaiev.kostiantyn” t="61"/>

 

Dave, the info about new company is in public right? Is it possible to find e.g. all
you companies? Or all companies with Channel Reply in their name?

 

I checked the same. I only saw my IPs
e dagalev.kostlantynG/4/2017, 542.20 PM
Only my laptop and smartphone here. All IP’s are from Montenegro.

SMa") too44.090 Dey
4/2017, 524158 PM

i
&

 

<a
href="https://monosnap.com/file/qAHfv3HGb8nDFtClhqq 1fcMQAW6Eb3">https:/
/monosnap.com/file/qAHfv3HGb8nDFtClhagq 1 fcMQAW6EbI </a>

Please change your password, turn on 2FA and force a logout of all sessions

lev kestlantynG/4/20 17, SUzG.S2 FM

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 108 of 171

Alexey doesn’t know anything about new company, new bank accounts, etc.

© Sage.

   

47 ee Ree PO ERA
My, 2:35:02 PM

Talked to my wife now. The only source of Mike's info we see is slack.

 

How Adaikresns (Alto
e §=COVIQgInias OfAy “olé,

I understand. I'll talk to our lawyers tomorrow.

 

e

.
I'm also happy to show you emails from lawyers as late as Friday saying he
rejects an audit.

e davidgitnanG/4/2017, S:23.24 PM

I'm open to asking for an audit again

To OM
Pho RPS

ort
Pad

» bagalev.xostlantyno/s/201/,
Dave, about last Mikes email. Can you talk to your lawyers about if you can
suggest him to make financial audit in this email with me and Alexey CC’d? Since
he has nothing to hide as he says.istrsteLike “Mike, let’s make financial audit by a
third party company if you have nothing to hide.”

OK.
« begsley bostiantynG/4/2017, 503014 FM

We'll need new paypal for all of them

OPEN GO RES
om fo feet 3 pad of
ap IAD/ “Tf Zul? Sad.

   

 

That will not work
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 109 of 171

  

dghen S017, BOS FM

 

 

 

 

 

.
Maybe we'll be able to move ChargeBee Paypal customers. Then there shouldn't
be any risks with old paypal ones, cause they are quite loyal

.
I will research tomorrow

.
As a co-founder - I insist to do our best to find the way not to do that <ss
type="smile">:)</ss> The idea of the tools like Channel Reply is to have them
“just works”

e cGavidgitmeanag/4/2017, 4:56:25 PM
I will check but probably not.

e bagaley.kostiantya/4/2017, 4:56:25 PM
Can we avoid this?

e davicgtimanG/4/2017

 

We might have to accept some loss from this change.

Secon ppg bomen be pe endeh en um den ope tl Pet PD
© RCO AOSTTVTTO Sof Ad

ta
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 110 of 171

That will no work well actually. We've sent several emails for our Amazon
cusotmers, we've created tickets in their helpesk’s. About 20% didn‘ react.<e_m
ts="1496609851" ts_ms="1496609852119" a="bagaiev.kostiantyn" t="61"/>

 

bao preston | Sates wnt NE EAPOLVE CF Ae RP-ES Toas
« bagalev. kostianivna/4/201 f, SIFTS

That will no work well actually. We've sent several emails for our Amazon
cusotmers, we've created tickets in their helpesk’s. About 20% didn’t
reacted.<e_m ts="1496609851" ts_ms="1496609852119"
a="bagaiev.kostiantyn" t="61"/>

 

 

. kostlantynG/4/2017, 437132 PM
That will no work well actually. We've sent several emails for our Amazon
cusotmers, we've created tickets in their Desk. About 20% didn’t reacted.
. pman6/4/2017, 4:56:37 FM
I can call some if needed as well
e bagalev. kostiantyns/4/2017, 4:50:21 °™

 

22 old paypal subscriptions. And I don’t have exact number about ChargeBee
ones.

fe sieieieema nS fA ANE 76 DM
° davidalmmnanG/4/20 1 7, 41b6120 FM

We'll have to send them email to reauth their account.

 

te nbuntiiafOAae Arias DMI
PaPUN TIS) AfPO1 ?, 4:56:03 PM

I think we'll need to do that.

aynG/Gaty acAS4a PM
VEL tthe? ff Be AS Pg Vastu ao FEE

 

Stripe allows that.

Ley retin pei PAPO ge PR DY
ey Kostiantyna/4/20) /, 4153123 PM

 

Most probably we'll be able to move stripe customers to a new ChargeBee
account.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 111 of 171

eaten s Legxesiefey oad LPAPSAAT 4.0799 GAS
vey Kkostlanbn6/4/2017, 4:52:22 2M

 

 

Done. There was Chaseonline screenshot. There were no screenshots mentioning
that you create a new bank accounts. But there we a number of them
mentioning a new company and me as co-founder.
<a
href="https://monosnap.com/file/RDY9qGRKSNKFxVJoAujCOcOImn3iSA ">https://
monosnap.com/file/RDY9GRkSNKFxXVJoAujCOcOImn3iSAS</a> no Mike here

. anG/4f2Gi?7, 4:49:05 PM

 

I guess not
e C2 Vig Ie ne/e/

I think you figured it out

de 4 fASON Ar G0. OS
e davicgimans/4/2017, 4i4e.20 °M

 

Probably!
e
e

Who knows we opened a new bank account?
e bocalev. kostianivnG/4/2017, 4:39:30 PM

 

So half of the customers are using Paypal.<e_m ts="1496608764"
ts_ms="1496608764954" a="bagaiev.kostiantyn" t="61"/>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 112 of 171

 

 

We have 245 active subscriptions in ChargeBee. About 70% are linked through
Stripe. Other are on Paypal. There are also old Paypal cusotmers, about 50.

e
But I’m quite sure that it is impossible to move Paypal customers.

e bagaiev.kostiantynG/4/2017, 4:35:02 PM

 

Basically. We'll need to move old Stripe subscriptions to a new Stripe account.
I'm not sure that it is possible

len aio eoetineabune (AfIOt? 2:432-39 PM
. pagaley Kostas ynofafe0ly, 4.34.30 PM

I'm not sure still.

alain oy

e davidgitman6/4/2017, 4:54:15 2
How many customers would have to resubscribe?
- bagaiev. kostiantynG/4/2017, 4.34114 7M

Stripe subscriptions were successfully imported

3

ates; eactinab om i IAfOGU) ARR? DM
° bagaleav.kostiantyn6/4/2017, AS3E? PM

Look, most of our clients are in ChargeBee, when we switched to it - they clearly
stated that it is impossible to import existing Paypal subscriptions.

sce bret erin gents FAL S 3
ex, kostianiyrig/S)2gi/,
a f é g

fy

i, are
eet Lopate:
S4iSU eM

 

¢
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 113 of 171

Not sure

 

 
  

 

lev kostlantynd/4/ 2017, %

I’ve successfully changed it several times. But skype itself accepts my old
password

 

I think you should use your new MS password.

CSAP Ae IO Oa
e Haga Joy bostar mynG/4fecd 7, ABF 20 PM

i

I've chanhed it several times

° davir fe

Nee

ang/ 20 Le, as 27 OG PM

oy

 
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They merged the accounts

   

is

bin any meg ony
e Ulery

But I login to skype with old password

 

ods

 

e bedalev.kostlantyno/4/2017, 415
Lol, now I can’t login
e bacalev. kostiantynG/4/2017, 4.12:09 PM

I clicked back - and everything reset

 
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 115 of 171

mA

 

 

 

° 17) 4-¢QG5:79 BM
So you should be able to see all expenses
- bacniev. kostantyng/4/2017, 4:03:09 PM

1 more thing Dave. As an owner you should have access to all your bank
accounts.

reptinihmeentlAfont Fe Woe Re OM
« vavidgitmana/4/20%. 7, 50:36 PM

T also turned on 2FA

neg nion) ferotiambyne Afni s 2 4a-53 OM
° nageiey. <cstlanwyng, AfZ017, 3:44:53 Ph

Me too.

 

I will change Skype password now
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 116 of 171

 

 

 

° n6/4/2017, 3:44:30 Pv
He is out of slack. All info is in Skype.

° G/4/POL7, 2:44:01 PM
It could be chat?

. sHantynG/4/2017, 2.43.49 PM
So it is not an email password

° wynG/4/2017, 3:43:25 PM

 

He told for you, me, and Alexey, that he doesn’t steal money. If e.g. me and
Alexey doesn’t know anything about this - then why should he do this in email to
us. You didn’t mention such things in emails.

ied oh ant any Phe pearg oy ey POAT beg rh 5
e davidgitman6/4/2017, 3:40:43 PM

 

e
e
I need to check all my accounts
e daviddgitrané/4/2017, 3:35:00 PM
He has too much information.
e davidaltmanG/4/2017, 2:34:52 PM
That worries me.
e bacalev.kostiantyn6/4/2017, 2.3644 PM
° 7, o4:30 PM

 
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I want to say that Mike makes strong move. He does it in public. He told us that
he knows that we know some things.

(2:32i27 PM

2

ris PFA? SOMO DAA
e davidgitmanG/4/2017, 3ig2:09 PM

Kk

 

You already replied<e_m ts="1496604700" ts_ms="1496604702423"
a="bagaiev.kostiantyn" t="61"/>

by pt mar 4 . LAN pas
e bagaley 4 KOSTER edt rity Yrn 5/4/2034 : 2. 41:43 Ph

You already replies

7

« bagsiev kostantyns/4/2017,

 

Yes 3 hours ago

e davidalimans/4/2017, 3:31:28 PM
Or a newer email?
e davidgltmans/4/2017, Bi3uris Pes

On 6/4/17, at 3:24 PM, Konstantyn wrote:
> An email from Mike sent to allof us

Is this from “12:12 PM” EST?

 
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An email from Mike sent to allof us

jtrman6/4/2017, 3:23:03 PM

 

<partlist type="ended” alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>2545</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>2545</duration>

</part>

</partlist>

 

levidgitmans/4/2017, 240139 PM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

cavidalimanG/4/2017, 2:30 022 PM
<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>22</duration>

</part>

<part identity="davidgitman">
<name> David Gitman</name>
<duration>23</duration>

</part>

</partlist>

davidgitmant/4/2017, 23755 Pe
<partlist type="started" alt="">

<part identity="davidgitman">
<name>David Gitman</name>

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</part>
</partlist>

 

wheyy edes Peery ean fA 2
e@ 6G BVICORIE Gs er ct

I just walked in door.

 

Wow. I wouldn’t bomb you if I would know <ss type="smile">:)</ss> Lets talk
when are back home ok?

    

eaaaric STA PRS Div
e WCE LEK Lt pO Pep CALL my

 

    

e
Are typing in iphone that fast ?

e bagalev. kostiantyné/4/2017, 2:35234
Maybe later

e

 

Not so small

fad

oN
x
Prone
“I
—
x

e CONIC

‘

fampty type Se FD PENG on
inmano/4afeou?, 2!
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 120 of 171

There are a lot more small issues than that.

 

For me there are 3 parts of the current issue. His CPK deal position, yours CR
position, and the fact about stolen money. For US laws he really didn’t give a
paper to Alice.

bey helevi + ar. AA
e caviddimans//2Z0i/, 235025 PM

If it goes to court, I think Mike would go to jail

 

I don't think it'll ever go to court. There are other way of remediation in the US
system

« davidaltmang/4/2017, 2:34:46 PM

 

Dave, I want to understand how US court will look at the whole situation.
e davidgitmané/4/2017, 2:54:18 PM

Why else can I tell you.
e badatev.kostlantynG/4/2017, 2:54:15 PM

That is clear too.

Overall I have legal, accounting, and trust issues. This can not be repaired.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 121 of 171

   

serniass lech)
DAU MOST

THat is clear

wo tye item yen FAP AP TTR CORA
© davideltmant/4/2017, 2:23i22 PM

As of Friday he put in a legal letter again that he is holding this position because
he never put Alice's ownership in paper<e_m ts="1496601171"
ts_ms="1496601171406" a="davidgitman" t="61"/>

 

As of Friday he put in a legal letter that he is hot holding strong and that stance
because he never put Alice's ownership and paper

 

iaaeriasy, breki we i PAPUAAT ee
© Oagalev.kostiantynd/4/2017, 2:52

Right
| ym 3a «29.95 OBA
e davidditmano/4/2017, 2:32:26 PM

As I described if you weeks ago most of the situation started from Mike not
giving Alice any of the ownership from the half million sale of CPK that he
promised

 

5.04 -AA DAA
22544 PM

I just want ot understand situation.

 

manG/4/2017, 2:31.19 PM

Please let the lawyers fix this mess. We need a 3 party to sort this out.

dae ty Bett ty deg, ery 8 POSER 2341 Ch
e badalev.k rynb/4f/eOL?7, 2:30:51 PM

ame)

 

Well for me you always were 50/50 partners. When you hired me for the full
time you told that you are equal partner <ss type="smile">:)</ss>
e caviddikmano/4/2017, 2:30:09 -M

ft eg Eek Ad be

He never had half.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 122 of 171

But he will not have half ownership as he had
« davidgitmang/4/2017, 2:29:13 PM

Mike will continue to have ownership at CR. However I will not be in a position to
let him be in charge of money

4-7 338: A
Las QP

 

  

 

e 3 RF BP A
On 6/4/17, at 8:26 PM, David Gitman wrote:
> What is done is illegal.
° vkostiantyne/4/2017, 2:26:17 PM
I mean for US law<e_m ts="1496600891" ts_ms="1496600892656"
a="bagaiev.kostiantyn"” t="61"/>
e bacalev.kostlantyne/4/2017, 2:26.12 PM

I man for US law

ch

« cavidoltmang/4/2017, 2:27:55 PM

aed

ad

I have not stolen CR

e GAY idgitmana/- ape tf, Zt

A
No

a
“8
os
ney
aS

His number #1 job is to watch money and accounting.
hoarpnape ne Pili 2 2 F I Mi
e bagaiev.< costla ar yn {4/20 7 ie 30 PM

So you are in parity now right? He stolen money, and you stolen Channel Reply
right?

© davidgitmanS/4/2017, 2:27:22

RS

PM

I like how he blaming old accounting

—

eS TRAA
POF Pv

fa

1g tt petaeeen ag PAPE he
e fe Jidgitrnans/4/ 2047, 4:
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 123 of 171

Once the trust is gone...

 

e davidgitmans/4/2017, 2:26:37

What is done is illegal. But besides that I don't trust them going forward

 

    

° 7

° stiantynofe/2017, 2:26:02
Dave, I mentioned previously that Mike can put his money to cover stolen ones.
Thus it will looks like you are really stolen Channel Reply from NDAP.

. é "Oy of 2017, 2725.12 2M

 

qe tetaiber aot, jf
° davidgitmant/y/2

We are both that way.

 

e Dace

os
U or

amy nt (APOE? Oa MO OM
A ynG/4/ 27, 2260S PM

You know I’m too honest sometimes and this can be an issue. But I think twice
before say something.
davidgitmang/4/2017, 2:24:02 PM

You haven't been in touch with him for a while now. It would be much easier for
me, even for a day if you delay it.

e davidgitmans/4/2017, 2:22:45 FM

Heh

 

I understand
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 124 of 171

 

 

° (2152 PM

° e:2ii4i PM
On 6/4/17, at 8:19 PM, David Gitman wrote:
> Then I need to explain it
You can do that quick. Dave, I don’t think that you have to worry. If you'll
explain me something - then I'll just have more info. For now all I see from Mike
are threats. He don’t want to explain anything by him own.

e davidgitnan6/4/2017, 2:19:58 PM

 

It's emotionally exhausting

, esiews ef $F wo poy LFA POOR RT o phat
e beagiev kostiantynG/4/Z017, 2:10.46 PM

 

You should suggest them something instead. Like icecream shop <ss
type="smile">:)</ss>

 

 

e

.

2

. rtyn6/4/2017, 2:19:08 PM
Ohh.

*

 

Going back home with 3 disappointed 7 year olds.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 125 of 171

 

 

° /4f2047, 22:18:52 PM
e

*

®

° P:4 9-33 PR

 

Hey

e bacalev.xostlantyn6/4/2017, 2:16:06 FM
I’m back

e cavideitmanG/4/2017, 1:23:31. PM
I want to explain everything in person

18M

e cdavicdimanb/4/2017, 1:25
Please don't call Mike until we meet in a week

© davidgiimanG/4/2017, b20:4l PM

I promised to take Shira and her friends to the movies now

amy
2031 PM

 

I can txt a bit

? aE PAPO 163M BZ |
e cavidglimans/4f2017, 1:20:24 PM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 126 of 171

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>181</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration> 181</duration>

</part>

</partlist>

desy plete Leo AO. TAA
e davidgttrnana/4/202/7, Li 7223 PM

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

e bagaeyv.knostiantyng/4/2017, 1ii7Ge PM

Dave can we talk?

 

J kostianwne/i/2017, 1:18:13 PM
Y talk later

e davicigitmané/i/2017, 1:16:00 PM

« daviddirnang/1/2017, L:17:35 PM
Me too

aN
eC

* hagaie vv kostiantvna/] EOL, 11G%4

I need to go to shop.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 127 of 171

Time flys.<e_m ts="1496337277" ts_ms="1496337277998" a="davidgitman"
t="61"/>

 

 

. L7, £1434 PM

° aniyno/i/2017, 1:14:19 PM
But to have a look on each other

e begaley kostianty nS/if20i7, T4:1io PM

To discuss something not really important

 

 

. 6G PM
No. At some point when a script was alrady working, and Eric with Will were
using it - I insisted on a call.
e davidaltrnans/1/2017, 1215030 PM
You have a better memory then me.
e davidgitmans/1/2017, TiS e PM
I though we met on Skype during first project.
® bagaiev kostiantynG/1/2017, L12:58 PM

First time I saw you in skype was 3 years ago.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 128 of 171

But working one was 2 years later

  

a
Md
bee
tr
sed
md

wy

RAa fp

5 years ago.

° cavidgitman6/i/2017, Lian? Pe
I was thinking of coming close to next weekend.

i

e bagalev.kostiantynG/i/Z017, 1ii2ch:
2012 January <ss type="smile">:)</ss>
e cavieghvnanG/L/2017, 1:11:59 PM
When did we build first version on Zendesk script?
e bagalev.costlantyn6/1/2017, [11:50 FM

Alexey will have 4 days of driving from Monday. After that we'll be ready to meet
in Kharkiv.

e davidgitmrans/1/2017, 1:11:59 PM
Phew

+ bagalev.kostlantynG/1/2017, 111127 PM
Ok.

© davidtinnang/i/2017, 1:11.05 °M
Let's both keep focused on the future of CR

° bagaiev kostlantyné/1/2017, L:1ariL PM

ot
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 129 of 171

Ok. I'd like to have clear path too.

 

 

e cavidgitmanG/i/2017, 1:0grsé
f.
I don't know.
je eteyibes eee ft PRET Fe MOBS DAA
e cdavidalimanc/i/2017, 1:09:36 PM

I hope to have a clear path forward including a roadmap and our relationship
with Mike.

  

Meariaic: & Phos pate
e Sad J AOSUMEYTE

Why Mike so afraid of our meeting?

°
ow

yagalev kostiantyn6/1/2017, 18:46 PM

é

What will change after we meet?

leavAdaitrranG/i fo F 4.9.47 DA
e cavidgitman6/1/Z2017, 1:08:17 PM

If I were you, I would block him until we meet

SFY
oe

e badalev.kostiantyna/1/2017, 1:07:

Ok got that
e davidgitmané/1/2017, 2:07:22 PM

Again you need to be really careful talking to him because he has a way of
twisting things around<e_m ts="1496336806" ts_ms="1496336806573"
a="davidgitman" t="61"/>

odes ye Shegegen ml PE POPS TT be CT IORA
« cavicgitman6/1/2017, 1:07:05 °M

He has not made his position on CR yet

ge y,

1:06:46 PM

 

I'm not sure how she's going to spend. Again you need to be really careful
talking to him because he has a way of twisting things around
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 130 of 171

 

 

 

*
About CR
© badalev.k L0G:18 PM
I just want to know his position
© 5 ostiantynS/1/2917, 1:0G:06 PM
Dave, I understand this.
e davidgitman6/1/2017, 1.05:46 PM
He has no legal right to say that. It has no effect on your work or your income
° ani6/ 1/2017, 1:05:30 PM

 

If Mike didn't fuck over all the shareholders and liabilities that we're supposed to
pay just to pay him himself, we would not be in this position

bn my yrpemg Tene p Reomgeeietesy piping cog i fa PEEVE te te ATG DRA
e bagalev.kostlantynG/i/2017, 1:04:42 PM

Like - “Dave you can’t meet with K ”

 

Cd
* £204:09 PM
. (04:02 PM
not good for him to block the job.
: "37 PM

be wate gent, £4 FR 37 o4-fyRs TO ORM
« dbagalev.kostiantynG/1/2017, 1:03:10 PM

What is Mike’s position about Channel Reply?
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 131 of 171

1

7, 01:2

fos

; PS

wi

A
4

in

La POR
aimané/i/201

c.

e cavic
My understanding is the house is in contract
e davidgiimans feet , 1:00:54 PM

Well he has a house, he just wants to buy a seven-figure house

 

So simple.

 
 
 

e oagelev.kostlantvnG/1/2017

i he EK

That explains a lot

   

ostantvne/ 1/201

Hahahaha.

 

e davidglomeanc/1/2017, 1:00:25 PM

I have signed a deal and it is now waiting Mike's signature. The money would be
freeze until everything is worked out. However I believe Mike needs the money
right now to buy a house

iC

« davicglimans/1/201

“4 PETS
Oy bor Oe.

Let's deal with one day at a time. I know the lawyers are speaking as we are
typing right now.

 

cos

Ear
fL/2G17,

e oagalev.sostanty , 12:59:35 FM

What about buyautoparts? Are they ready to wait? Or the deal is signed, but
money are freezed?

03 PM

PE

e bagalev.kostlantyn6/1/2017, 12:59:

But before your trip - he’ll know about that and will force communication.

Exactly.

oy CPL PIG FOO. ee Bg
° page aiev. kostiar wynG/L/2oly, B2io813a PM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 132 of 171

Probably there is no rush before you come to us.

 

Please give me some time to work with you developing a position and plan for
CR

AD

e cdavidgitrnané/1/2017, 12:58:14 PM
I understand that.
e begalev.kostlantynG/1/2017, 12: BE 8 PS

I need to have my position about that.

anivnc Sfi f2019 ! PAP SP 14g PY}

 

Most probably Mike will contact me soon. He'll be insisting on that. And insisting
on not working with you.

 

At least very hard for me

frog preany ESS aAgtiaaes tS fi fDi? bd Re Re OM
« bacaley.kostlanbwnie/1/2017, 12:56:58 FM
ay i fas ?

Dave, I want to be ready for the talk with Mike. I know that the best tactic for
me is to hide my head into the sand. But I can’t do like this.

Lata Ore fea DA
e Cay idgeman fLfAQL7, E21 sol Fb Mi

6
vidoitmang/i/oni po Ay OM
e cavidgitman6/1/2017, L2:56:47 PM

I have too many joins going on in my head

tons teleitinn a APOE PR LUG RA OM
e cavidalt nanG/ 1/2017 12:56:24 PM

It's difficult to sort out the complexity in a linear fashion
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 133 of 171

 

e ae aviddl imen 6f/if2017 ’ 1255 ae BM

I don't have much of an ego but I don't want to be put into a bad position

 

. mOf1feol7, 12:55:45 PM
Dave, I need to work with you for CR. It is for a great future of CR. Is ita
conflict of interest ?

. stianbmne/i/2ol7, 12:55:05 PM

 

No problem

4 £

e cavidgimans/1/2017, Lé:s4.36

I appreciate the offer and might ask you to do it but right now it will make me
look weak if you do that

faa

ees rede tee mink 4 Fy 4 4 r PKA
e | GAVICICHo nc: SfLf/ZG17, 120 Oh PM

‘i

You have no right to ask for an audit. Also what would you audit. Mike has
created a complex system of mixing money and has never opened a bank
account for CR

 

idgltmans/i/2017, 12:53:30 PM
That is standard terms for an operating agreement
« bagalev.kostlantyns/1/2017, 12:53:26 PM

What if I’ll ask for audi - will it be a conflict ? <ss type="smile">:)</ss>
e davidgltrnana/i/2017, 12:53:15 PM

It also says in the operating agreement that I any founder can ask for an audit

iiniemneanci1(OAb? (Dp Si-nc OM
e davidghmanc/i/2017, 12:53:00 PM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 134 of 171

Yes, I will meet with the company accountant, hopefully tomorrow. I then can
start talking to other firms

e bagaiev.kostlantyn6/1/2017, 12:52:53 PM
And they say that there is a conflict - lol

e becalev.kostiantynd/1/2017, 12.52 27 PM
You are the cofounder. And you want audit

e pagalev.kostlantyn6/1/2017, 12:52:36 PM
Interesting.

e davidgitman6/1/2017, 12:52:21 PM

I'm prepared to start the audit in the near future, on my own<e_m
ts="1496335884" ts_ms="1496335884987" a="davidgitman" t="61"/>

e daviaghmen6/1/2017, 12:52:05 PM
I have to research a firm that is certified to do this

» da avidgiin ia ib/ Uf POLS, 12:51:53 FM

Right now our accountant may not to do the audit because of a conflict of
interest

e davicditmans/1/2017, 12:5ii26 PM
I prepared to start the audit in the near future, on my own
« bagalev.kostiantyn6/1/2017, 12:51:20 PM

Basically if they are against that - that means that they have what to hide

S

e davidgitmang/1/2017, 12:50:59 PM

They are still against an audit.<e_m ts="1496335850" ts_ms="1496335850893"
a="davidgitman™ t="61"/>

e davidgitman6/1/2017, 12:50:50 PM

We are still against an audit.

 
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aiimans/i/2017, 12:50:43 7M

 

And who will account for money, etc.

- bagaiev.kostiantyn6/1/2017, 125014! FP
What do they say about audit?

e davidditmans/1/2017, 12:50:17 PM
Yes

e pagaliev.kostlantyng/1/2017, 12.50.08 PM
So they just speak about money right?
e« dayidgitmanG/1/2017, 1ai4g:47 PM
I've been trying to separate the two issues but they are unwilling to do that

© davidgltman6/i/2017, 12:49:32 PM

Right now Mike will not except the shares unless he gets all of the money from
the auto parts deal

e davidgitman6/1/2017, 12:48:37 PM

Reply to Mike "Please work things out with David as quickly as possible. I hope
to be working together soon."

. vidgitman6/i/2017, 12:48:02 PM
IT have sent Mike shares.
« hada kostiantyne/ 1/2017, 12:47:22 2M

I see, Dave, let me know how should we behave with Mike. Also, the documents
about shares - do they include Mike? Can you please describe current situation
with Channel Reply?

e cavidgitrrang/1/2017, L2:45:34 PM

I'm tired of fighting I'm ready to build
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Lawyers made me feel like 12 rounds with Muhammad Ali

om yt 4 AE DAS
° caviddl amar 6fife M17, Léi45005 PM

Let's get started on the roadmap.

 

s lev. kostiantyno/L/or?, 1244559 a
On 6/1/17, at 2:10 PM, David Gitman wrote:
> What have you heard
About lawyers, insurance companies, banks. All these actually do nothing, but
have a lot of money.
e davidgimanG/i/2017, 12:44:50 PM

Unfortunately, there was no resolution. I will keep working towards a resolution
but it will not happen in the near future

Lang en Yow {> eve} “reer Cha i
e bagalev.kostlantyno/1/2017, 8:11:25 AM

Ok

jo
en

5
“he
mh

 

What have you heard

e = davicghmans/1/2017, 8:10:55 AM
Sorry, didn’t mean to say that

an

rlesielalibraa 4EUNA TE LI ARA
e davidgitmana/1/2017, G:lGi45 AM

+ aM
eg AM

e
nu
eas
go
oy
re
a
o
we
2
me
<
oy
ee
feb
oh
Ko
-~
bee
t
es
Oo
feewk
Co

It’s expensive to get this set up. Im spending the 10k+ out of my own pocket to
make this right.

e dav guy ot manG/if2O17, 24 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 137 of 171

And then there will be another set we need to do

Lemmons temekleeth eye it fae 8 AGA AM
e | 6Gagaiey. nosuarcy nay 1/20 i fy B:08:04 AM

ca ttenticen es yt PE PACE O-NO-MA AA
e davidgitmeans/1/2017, 9:06:04 AM

Board Consent

Form of Notice of Stock Option Grant and Stock Option Agreement

Form of Notice of Stock Option Grant and Stock Option Agreement (Early
Exercise)

Form of Stock Award Notice and Restricted Stock Agreement

Form of Stock Award Notice and Restricted Stock Purchase Agreement
Securities Law Compliance Instructions

Stock Plan

Stockholder Consent

e davidgitmanGg/i/2017, @:08:01 AM
It has many things to read

lantynG/1/2017, 8:08:01 AM

 

Yes sure
« davidgitmané/1/2017, 2:07:56 AM
Can you wait until it’s approved. It should be today

ORR
OAM

Nd

' i Led imp gop dog oye PIMGF ry?
e bagaleyv.kostlantynG/L/2017, 8:07:

Ok. I just want to read that all to have understanding about how all of that is
organized

° davidgimeant/l/2017, 7:59:45 AM
Should I try to download them as is?
e davidelimans/i/2017, 7:59:32 AM

They can’t be shared with the Clerky team setting until it’s approved.

5)

& Rye
Punt

- ates eaetinet mee PUNE? CYR Ge
e bagaiev.kostlantyna/ 1/2017, 7:25:02

“on!
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 138 of 171

Can I view these documents <a
href="https://monosnap.com/file/AvZH6t7Xm8ibKcrirKTFUNWQVvoliEP">https://
monosnap.com/file/AVZH6t7Xm8ibKcrirKTFUNWQvo1LiEP </a> ?

AKA

e cavidgitmans/1/2017, G5 7:31 AM

I will update that

alov |
eee oa

Ln omy wrote eta ent, fd
« D2 COSManiyngy?

OQ
A

acy G-O7-21 AM
(f2017, 657731 AM

‘

Probably should be able to fix that

Dave, I have another official address since last 2-3 months.

Oar

my taee esebin indy et ft POR ACF Gee AKA
e bagaiev.kostiantyn$/1/2017, G:48.32 AM

Thanks
e davidgitimans/1/2017, 6:45:22 AM

<a
href= "https://admin.google.com/channelreply.com/AdminHome# Migration" >http
s://admin.google.com/channelreply.com/AdminHome#Migration</a>:

hearcsigu inetnmbuss (fot? Gage hg AR
» bagalev.kosdantyne/i/2017, 6146.50 AM

“

Huh. so slow...
e davidgitmans/i/2017, 6:4G:a1 AM
I will make you admin so you can see this as well

© davidgitmané/1/2017, 6:40:22 AM

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-eus-
d1-6569461e7609eicb1.cb53f45d87e7c3d"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d1-
6569461e7609e1cb1cb53f45d87e7c3d/views/imgt1" ams_id="0-eus-d1-
6569461e7609e1cb1cb53f45d87e7c3d">Media received. To view it, go to: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-eus-d1-
6569461e7609e1cb1cb53f45d87e7c3d">https://login.skype.com/login/sso?go=x
mmfallback?pic=0-eus-d1-6569461e7609e1cb1cb53f45d87e7c3d</a><FileSize
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 139 of 171

v="335757" /><OriginalName v="Screen Shot 2017-06-01 at 6.46.14 AM.png"
/><meta type="photo" originalName="Screen Shot 2017-06-01 at 6.46.14
AM.png" /></URIObject>

 

Checking

Ling km goin my tay lLemobiamin as ti ft PR iy oA 22? A i
e dagalev.kostlaniyno/i/201/, 6:45:35 AM

Also, if the import of the emails from my old google mail still running? I don’t see
my old emails

© bacalev.kostantyn6/1/2017, G:4306 AM

As for your comment in email - I just mention that this is the only info he wanted
to share. There is no any other info or request from him.

e cavidgitman6/1/2017, o:30i52 AM
Me too

Lue meatens baetinakyng it foo fe
» becalev.kostiantynd/1/2017, 6:38:44 AM

100% transparency
e davidgitmans/1/2017, 0:35:37 AM

No more games going forward.<e_m ts="1496313329"
ts_ms="1496313334070" a="davidgitman" t="61"/>

e CaN viagith nano/ if? POL t; 6: Bt 34 AM
No mare games going forward.
e davidgitmans/1/2017, 6:35:24 AM

Not you playing games

° bagalev.kostiantynG/i/2017, 6:35:14 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 140 of 171

I'm not playing games now.

e davidaitman6/1/2017, 6:35:05 AM

We are co-founders.

 

°
e
No games
e davidgitmans; MfeOL?, 6:34:46 AM

I want you to have full transparency into the company.
e cavidglimans/1/2017, 6:24:32 AM

This is important to me
e = cavidgitnané/1/2017, 0:34:26 AM

I’m going to give you full access to Clerky
e hagalev.kosdanhyne/1/2017, 6:34:20 AM

Yes?

e davicigity mans it

 

K

e cavidgitmans/1/2017, 6:29:39 AM

a

 

e badalev kostiantyn6/1/2017, 6:28:
I'm reading NDA now

bins ory yg oe gS, Len orbiagink, meee PUPA fe OOF
e badaiev.kostianivng/i/2017, 62802
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 141 of 171

ome phedon i re ar ae a ap 2 “At ARS
e davidgitrnans/1/2017, 6:27:46 AM

Hopefully he will approve soon

<URIObject type="Picture.1" uri="https://api.asm.skype.com/v1/objects/0-eus-
di-c732df3ac885f55bd9df2df0a6e7d05f"
url_thumbnail="https://api.asm.skype.com/v1/objects/0-eus-d1-
C732df3ac885f55bd9df2df0ab6e7d05f/views/imgti" ams_id="0-eus-d1-
c732df3ac885f55bd9df2df0a6e7d05f">Media received. To view it, go to: <a
href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-eus-d1-
c732df3ac885f55bd9df2df0a6e7d05f">https://login.skype.com/login/sso?go=xm
mfallback?pic=0-eus-d1-c732df3ac885f55bd9df2df0a6e7d05f</a><FileSize
v="403236" /><OriginalName v="Screen Shot 2017-06-01 at 6.27.28 AM.png"
/><meta type="photo" originalName="Screen Shot 2017-06-01 at 6.27.28
AM.png" /></URIObject>

reas eacuteays bemetimn tape fa PETE DE AD Ah
e dagalev.kostianbne/1/2017, 6:26:42 AM

a

Ok thanks
e davidgitman6/1/2017, G:26:22 AM

Changes are made. Our lawyer must approve it now. He should release the
update to you soon.

boc hccthen et DAPI Bvt PE A
» cavidgimane/i/2017, G1 7:59 AM

And better then ever

° bagagiey.kostlaniyno/1/2017, 6:27:50 AM
<ss type="smile">:)</ss>

e davidgitmano/l/2017, G:17:44 AM

= b

I’m back
© bagalev.kostiantynd/1/2017, G:17:38 AM

But if you are back to Channel Reply - then let him report to you.

° begaiey.kostiantyn6/1/2017, @17:15 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20

He can report to me

 

rte
e cavicgitna

Or me for now?

 

 

e cdavidgltmmanG/1/Z017, Gt16:35
Can I have him report to you?

° hO:16:
Marketing Manager?

e bagalev.kostiantyno/1/2017, Go

e davidgitman6/1/2017, 6:1G:14

What is Justin’s title?

 

. kostlantyn6/1/2017, 6
Ok.

e davidditman6/i/2017, o:l4:04 AM
I'm fixing

e davidgitmanG/1/2017, 6:14:02 §

You're not vestige fast enough
e davidgiman6/1/2017, 6:15:59

Lawyer made a mistake

e Ddagalev.kastiantync/i/2017, 6:

I’m reading next one.

AM

?

13:09 AM

Page 142 of 171
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 143 of 171

e davidgitman6/1/2917, 6:10:35 AM

  
 

Let me see what I can add

B17, G:10:

es
Rewniae
cD
Po
cH
“pe
Ss

- bacaiev.kostiantynG/1/2
Ok that is clear

e bagalev. kostiantyne/L/2017, 6:10:11 AM
At some time I wanted to make an android app which calculates distance

between 2 dots, by moving phone between them. As well as car accelleration
from 0 to 100.

deartrdeieesea ec ft SOOT Lote yy AK
e davidgitmanG/1/2017, 6:10:07 AM

However if you told me you want to work for Zendesk on the weekend I might
not be OK <ss type="smile">:)</ss>

shone phederibeegentl fq FORE Ge iA NAA
e davidgitmané/1/2017, 6:09:40 AM

If you want to make money doing something else, 1 would send an email saying
“Hey, I want to make money fixing cars not he weekend” I would reply OK.

« davidgitrans/1/2017, 6:09:10 AM
This is standard language.
- davidgitman6/1/2017, G:0e:55 AM

It’s expensive to create and maintain but I want to protect you

ru

e bagaiev.kastiantyne/1/2017, 6:08:47 AM

Outside Activities. While you render services to the Company, you agree that you
will not engage in any other employment, consulting or other business activity
without the written consent of the Company. steistDave, sometimes I dig into
some technologies, like looking at other sides. If I'll find something not related to
Channel Reply - I’m going to share this with you anyway, but can you Clarify this
option anyway?

;

» davidgitmans/1/2017, 6:08:26 AM

We created an ESOP to protect you and Aleksey
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 144 of 171

e davidgltmans/i/201? 6:07:45 AM

I learned this lesson the hard way
« davidgitmanG/1/2017, 6:07:36 AM

So if they come along and put in money, I can then release more shares to keep
you at same (or higher) percentage.<e_m ts="1496311630"
ts_ms="1496311630811" a="davidgitman" t="61"/>

bey Lagekiaengin na Git ia e foe at AM
lev kostianiyi PL 2017, OOS TSE AMM

 

Ok.
© daevidgltrané/1/2017, 6:07:10 AM

So if they come along and put in money, I can then relate more shares to keep
you at same (or higher) percentage.
e dayidgitrmané/1/2017, 6:06:37 AM

So what I did is protect 1,000,000 shares from investors, etc
e davidaitmané/1/2G17, 6:06:19 AM
You're smarter then most

e davidgitmané/1/2017, 6:06:16 AM

This is a game companies play

 

hoarininy ke FROG ay

* pagaley.k 7, 6:06:03 AM
feo oat { Beets fi POPE GA oy AM

« bagalav.ieostiantyn6/1/2017, 6:05:57 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 145 of 171

There are 5,000,000 share right now.

© davidgitrnan6/1/2017, 6:05:34 AM
Great question

e bagaiey.kostiancyno/1/2017, 0:05:31 AM

Ok, good

J
cna
am
ary
on

e = davidglimans/1/2017, 6:0

 

Yes

° Ao AM
Are these 250k = 5% of total?

e ey. kostiantyn6/ 1/2017, 6:04:22 AM

 

Joking <ss type="smile">:)</ss><e_m ts="1496311458"
ts_ms="1496311459127" a="bagaiev.kostiantyn” t="61"/>

e padaiev,kostantyn6/1/2017, 6:04:19 AM

hl

Joking %)

e davica oH fran of) Le POL? fy G:04:15 AM

Exactly

, 2:04:05 AM

 

Ha, I’m already 2 years here <ss type="smile">:)</ss>
° bagalev.kostlantynG/1/2017, 6:03:52 AM

Got that. Thanks.
e davidgitmans/1/2017, 6:02:14 AM

Standard is 4 years but I accelerated it for you.

e daviddltrnans/1/2017, 6:01:32 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 146 of 171

You get 1/2 of the stock today and the rest over the next two years.

e davideltmand/i/2017, 6:01:12 AM
LMK if you have any questions

e bagalev.kostianiyns/1/2017, 6:00:59 AM
I’m reading

e davidigitrand/1/2017, 5:58:21 AM
Initial stock agreements sent.

e bagalev.kostlantyns/1/2017, 5:56:55 AM
href="https://www.google.com/maps/place/Akhsarova+tSt,+11,+Kharkiv,+Khark
iv+Oblast,-+Ukraine/@50.0504694,36.2013042,17z/data=!3m1!4b1!4m5!3m4!1s

0x4127a402c4202283:0x8d195ada907a9908!8m2!3d50.050466!4d36.2034929">
ee //www. google. S104 Sect andat Tel dotant +11 ea epee

on

a
waar

Akhsarova Sr ‘14 Kharkiv, Ukraine.
« bagaiev.kostantyne/1/2017, 5:55:11 AM
1 min I'll check on maps <ss type="smile">:)</ss>
e =davidgiimans/i/Z017, 5:54:52 AM
That's fine
e bagalev.kostiantyne/i/2017, 5:54:44 AN
I don’t know his appartment number
e davidgitmano/1/2017, bt54:24 AM
Do you have his address in Kharkiv?
« bagalev.kostiantynG/1/2017, 5:54:03 AM

20
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 147 of 171

Su emp ABA

e GaVvig gltmans/1/ 2017, 5 54:02 AM
What is Aleksey hourly rate?

-

e bagalev.kostiantyna/i/2017, s:40i24 AM

e cdavidglimanG/1/2017, 5:40:02 AM
I would like to dump TD

e davidgiman6/1/2017, 5:46:57 AM
Whatever you prefer.

e davidgitmans/1/2017, 5:48.46 AM
I'm happy to switch it.

e pagaiev.kostiantyn6/ 1/2017, 3:48:35 AM
Sometimes I think that monthly salary is better than hourly.

* bagalev.kostlantyn6/1/2017, 5:47:19 AM
Ok got that.

« daviegitmanG/1/2017, 5:46:58 AM
He is asking me these questions

e §6davidgitnans/1/2017, 5:46:49 AM

Tam OTP with our lawyer. I will attempt to sort it out today. Either way you
need to be protected in my meeting as well.

. galev. kostiantynG/1/2017, 5:44:53 AM
Dave. That sounds well. But I think this is not a first issue to solve now. I really
appreciate this. And I was going to raise this question. But probably you should
sort things with Mike.

« davidglimanG/1/2017, 5:43:26 AM

 
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And bonus
* davicaltrnans/1/2017, 5:43:21 AM
We can always make a higher per hour rate

— aS

many pede obey ra ke ES 2 Zoek AR?
e davidgimano/1/2017, 5:42:59 AM

I will do it per hour then
e bagaiev.kostiantyn6/1/2017, 5:42:59 AM
No. I'll need to pay more taxes then <ss type="smile">:)</ss>
e daviciglkmanc/1/2017, 5:42:34 AM
Or a bit more?
e davidgitmans/i/2017, 5:42:25 AM
Is it better to have a 4k/month agreement for you?

agaiev.Kastiantyno/1/2017, 3:41:35 AM

°

I can use existing one for now. I just need to prove that my money are legal

° davidal tman 16/1/2017 po ais 34 AM

And I will work on bonus

e daviddiimanG/1/2017, 5:4i:13 AM

What do you need in “bank agreement” ?
« hagalev.kostiantynS/1/2017, 5:40:39 AM

Or 5700 with bonus <ss type="smile">:)</ss>
e bagaiev.ckostlantyn6/1/2017, 340.28 AM

On NY it was 3700

Le oy fee bert neve 4 POO Ms AD- d ARA
e bagalev kostlantynG/1/2017, 2:40:17 AM

4200-4700 depends on days number
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 149 of 171

 

° S140:02 AM
Monthly?

e bagalev.kostiantyné/1/2017, 5139055 AM
25/hour

» davidgitmans/i/2017, 5:39:42 AM
What is your salary now?

« bagaiev.kostiantynG/1/2017, 5:22:58 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration> 1008</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>1008</duration>

</part>

</partlist>

e badaiev.kostiantyno/1/2017, 5:06:10 AM

<partlist type="started” alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>

</part>
</partlist>
» bagaiev.kostlantynG/1/2017, 5:05.52 AM

No scary emails from lawyer yet
e davidgitmans/1/2017, 5:05:49 AM
Ok

e bagalev.kostiantyne/ 1/2077, 5:05:40 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 150 of 171

Trying to call.
* viagltrians sf V/Z Zh O17, 5 SO5:40 & vi
Can I call your mobile?

TROL? Cee BA AR
Yn6/L/2047, 05:34 AM

 

vias ete mer m AA
© davidgitmané/i/2017, 5:05:16 AM

<partlist type="ended" alt="">
<part identity="davidgitman">

<name>David Gitman</name>
</part>

</partlist>

AP

ost el AM
SOS 14 AM

rl

e cdavidghmans/i/2017,
<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>

</part>
</partlist>
e pagelev.kostiantynG/1/2017, 5:05:09 AM

Skype lags again

£

. begalev.kostiantn6/1/26017, 5:04:53 AM

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

e bagalev.kostiantynG/i/2017, 5:04:53 AM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 151 of 171

 

<partlist type="ended" alt="">

<part identity="davidgitman">

<name>David Gitman</name>
</part>

</partlist>

« = devidgitman6/1/2017, 5:04.19 AM

<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

e davidgitmanG/1/2917, 4:56:02 AM

Hey. What's up? Did you get a scary letter from a lawyer?

 

Let’s say no internet here in the evening.

e cavidgitmans/31/2017, 4:50:21 °M
Thanks

e bagalev.kostiantynS/31/2017, 4:30:16 PM
I see. Let’s talk tomorrow. I'll ignore today

e cavidgitmenS/S1/2617, 4:30:12 F

“et

I'm having a hard time not crying

boy peed esp ry j hat VAD Eat
e davidgitmans/2i/2017, 4130.03 PM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 152 of 171

I'm very emotional at the moment

 

» davidghmanS/S 1/2017, 4:29:36 PM
I will support you but I don’t think it’s a good idea
e bagalev.kostlantynS/31/2017, 4:29:37 PM
Dave, please don’t talk so officially with me <ss type="smile">:)</ss>
« davidgitranS/3 1/2017, 4:29:18 PM
I strongly recommend not to talk with him
e bagaiey.kostianbyn5/31/2017, 4:28:58 PM
I'll type him. T’ll ask him to sort everything with you.
e davidgttmans/31/2017, 4:28:35 PM
Both
e daviddlimans/31/2017, 4:26:27 PM
I’m talking to the lawyer now.
e bagaiev.kostiantyn5/31/2017, 4:28:24 PM
You and Mike? Or you and I meet ?
- davideitmanS/31/2017, 4:28:10 PM
I would block him until we meet.
- bagaiev.kostlantyn5/31/2017, 4:28:05 FM
What risks do we have if I'll call him ?
e davidgitmanS/31/2017, 4:27:41 PM
Yes, please
° bagalev.kostiantyn5/31/2017, 4:27:33 PM

Ok. So I should just ignore ?
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 153 of 171

davidgitmanS/31/2017, 4:27:15 PM
I strongly recommend not to call him back until we meet.
pagalev kostiantynS/31/2017, 4:26:44 PM
In 10 minutes
cagaiev. kastlantynS/31/2017, 4:26:39 PM
Dave, I'll call him back and I'll ask not to involve me
bagaiev kostlantyn5/3 1/2017, 4:20:52 PM

On 5/31/17, at 10:07 PM, Mike Dash wrote:

L. —

bagalev. kostlantynS/31/2017, 3:09.00 AM
Hello Dave, how can I access my <a
href="mailto:konstantyn@channelreply.com">konstantyn@channelreply.com</a
> email?

davidaltmanS/30/2017, 3:17:46 PM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>129</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration> 130</duration>

</part>

</partlist>

davidgitmand/30/2017, 3:15:51 PM

<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

badalev.kostiantyn5/27/2017, 5:14:15 PM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 154 of 171

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
<duration>507</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>507</duration>

</part>

</partlist>

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

e davidgitmans/27/2017, 5:56:42 AM
<ss type="yes">(y)</ss>

Lam prion; mahi anim PETIA? EO ANA
© DaACalev. KOSAanLy! 5/27/2047, 15808 AM

e bagalev.kostlantyn5/27/2017, 5:57:56 AM

Take a rest. Maybe get some painkiller if rib hurts and take a rest. If you are in
countryside - go to swimming pool for relax.

« davicgitmans/27/2017, 5:57:28 AM

It's 6 am. I now feel that I can sleep. Thanks for talking me down. Talk soon.

e da vic rmans/27) P2017, 5 S56:45 AM

I still see them as little.
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 155 of 171

It is not you old. It is girls are too big already

af TOA Cs
® dav iagitr mans/27/2077, 5:5 56:13

AM
<ss type="laugh">:D</ss>

Unc an ee a
e SS agale Vo Sul ianey mS 27 7/201 , 2:56:00 AM

On 5/27/17, at 11:54 AM, David Gitman wrote:
> I‘d rather fight a bear over 12, 7 year olds.

I heard this <ss type="smile">:)</ss>
e davidgitmanS/27/2017, 5:55:00 AM

<ss type="laugh">:D</ss>

 

e cavideltmans/27/2017
Shira had her 7th birthday party on Sunday at a bounce house place. The kids
jumped all over me. I got an x ray last night. It's fractured. Lesson learned. I’m
too old for bounce houses. And I ‘d rather fight a bear over 12, 7 year olds.

e = dagaiev.kostlantynS/27/2917, 5:54:06 AM

YOU didn’t tell that you broke it.

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e bagalev.kostlantyn5/27/2017, 5:

Sick

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e pagalev.k antyns/27/20%7, 5:53)

You mentioned that it hurts

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e bacgalev. kostlantyns/27/2017, 5:

As amateur poker player I can say that life is a set of possibilities <ss
type="smile">:)</ss>

« davidgitmanS/27/2017, §:53:37 AM
Did I tell you I broke by rib?

e davidglimans/27/2017, 5:53:25 AM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 156 of 171

I'm in pain
e davidgitanS/27/2017, 5:53:13 AM

It's a long weekend here. I'm in the country with the girls. T will focus on
enjoying that.

e bagaiev.kastlaniyn5/2 FP 2017, 5:52:33 AM

Tell me if you'll take a rest on Saturday - what possiblity that tomorrow you'll
find that something is ruined because of that?

 

Thanks for talking to me about this.
© davidgltmanS/27/2017, 5:52:14 AM
Agreed.
e bagalev.kostlantyn5/27/2017, 5:51:54 AM
Nevertheless you should sleep. That will help more for these people
e bagsiev.kostlantynS/27/2017, 5:51:34 AM
Agree. Got your position
e cdavidgitmans/27/2017, 5:50:49 AM
They should be rewarded for that risk and hard work.
e = davidgitmans/27/2017, 5:50:30 AM
Who believed in me.

e davidgimans/27/2017, S:50:19 AM

It's about protecting the people who worked hard with me.

Ort

L. tote eee} ay EC PE POATTP CAM OA ARA
e bagalev.kostantyn/27/2017, 5:49:54 AM

Also it is all about money, it is not about find what to eat and where to sleep.
And it is not about success of the project of your life. You can afford yourself to
sleep <ss type="smile">:)</ss>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 157 of 171

» davidgitmand/27/2017, 5:45:30 AM
I will try to rest.
e cdavidgitmans/27/2017, 5:48:16 AM

I know, often when I return to the terminal after taking a break I find a solution
within minutes

» bagaiev.kostlantynS/27/2017, 3.47725 AM

 
 

e baggiev.kostlantyns/27/2017, 3:47:01 AM
But that will help to solve most of the problems

e  davicgitmans/27/2017, 5:46:55 AM

It helps to hear that from you.

« 4é

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ep aes by eenbetin id eye ree ge 220 AN
e badgalev.kostlantyn5/27/2017, 738 AN

{

I know it is easier to say for me than to implement for you<e_m
ts="1495878391" ts_ms="1495878391785" a="bagaiev.kostiantyn" t="61"/>

» bagaiev.kostiantyn5/27/2017, 5:46:31 AM
I know it is easier to say for me that to implement for you
° bagziev.kostlantyn5/27/2017, 5:46:10 AM

It’s Saturday now. Just stop ruin yourself. Take nice bath and have some sleep.
Everything can wait 12 hours.

° fidgitrnanS/27/2017, 3:45:22 AM
I can't separate myself from my work.
e bagalev.kostiantynS/27/2017, 3:45:21 AM

That sucks Dave. You should break the circle.

e §devidgitrianS/27/2017, 2:45:04 Ab
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 158 of 171

No, I'm not sleeping at all
e davidgltrnans/27/2017, 5.44.44 AM
It first needs to be confirmed my the state.
« bagaiev.kostianiynS/27/2017, 3.44:41 AM
Ok got that.
e davidgitmanS/27/2017, 5:44:31 AM
You should get a login to e sign it.
° bagaiev.kostiantyn5/27/2017, 5:44.21 AM
Not sleeping again?
« davidgitmanS/27/2017, 5:44:19 AM
Hey
e davidgitrnanS/27/2017, 5:44.16 AM

No.

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is
fod
epee
“te
oe

° bagalev.kostiantyn5/27/2017, s.44:14
Hi
© bacgalev.kostlantyn5/27/2017, 5:44:02 AM
Did you sent it by post?
- davidaitmans/26/2017, 9:16:45 PM
Lawyer filed the paperwork for your ownership. You'll see it in a few days.
e davidgitmans/26/2017, 1:18:54 PM
That helps
» bagalev.kostiantyn$/26/2017, 1:01:36 PM

<a href="http://take.ms/GYODn">http://take.ms/GYODn</a>
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 159 of 171

e bagaiev.kostlantyn5/26/2017, 1:01:03 PM

<a href="http://take.ms/awlu1">http://take.ms/awlul </a>
e bagalev.kastiantyn5/26/2017, 12:57:38 PM

Don’t see where to check. I have separate login
e davidgitmans/26/2017, 12:55:50 PM

K

a

e bagalev.kostiantyn5/26/2017, 12:54:40 PM
Not sure. Give me a moment.

AsO EWA
4:38 PM

uA
as

e davidgitrnans/26/2017, Le:
<a href="mailto:paypal@ndap-lic.com">paypal@ndap-lic.com</a>?

e cavidgitmans/26/2017, 12:54:19 PM
Which PayPal account is for CR?

« bagalev.kostianbyn5/26/2017, 12:54:19 PM
You have account should be able to restore password

e bagaiev.kostiantyn5/26/2017, 12:54:02 PM
<a
href="https://monosnap.com/file/GMNpoUQtyTauPLRMyoLX49kIJZRliuA">https://
monosnap.com/file/GMNpoUQtyTauPLRMyoLX49kJZRliuA</a>

« cavidgitmanS/26/2017, 12:52:53 PM
Thx

© davidgitmanS/26/2017, 12:52:52 PM

I should be using <a
href="mailto:david@channelreply.com">david@channelreply.com</a>

« davidgitmanS/26/2017, 12:52:49 PM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 160 of 171

I was using the wrong account

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e bagalev.kostiantyn5/26/2017, 12

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“3
pees,
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Yw

© davidgitrnanS/26/2017, 12:51:41 PM

Thx
e bagaiev.kostiantyn5/26/2017, 12:51:19 PM
<a

href="https: //dashboard.stripe.com/dashboard"> https://dashboard.stripe.com/d

ashboard</a>isteski<a
href="mailto:konstantyn@channelreply.com">konstantyn@channelreply.com</a

>i$1Dd9509367_
e cavidgitmands/26/2017, 12:50:53 PM
Yes, please

e bagalev.kostlanivns/26/2017, 12.30.41 PM
Do you need credentials?

e bacgalev.kostlantvnS/20/2017, 12:49:59 PM
Yes

e davidgitmanS/26/2017, 12:43:18 PM
Do you have access to stripe?

e bagaiev.kostiantyn5/26/2017, 12:27:34 PM
Ok

e cdavidgitmand/26/2017, 12:27:24 PM
I'm talking to the lawyers now

e §=cdavidgitmans/25/2017, 12:27:18 PM

Thanks
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 161 of 171

bagaiev.kostilantyn5/26/2017, 12:27:13 PM

Dave, if you need any info from us. Any action, don’t hesitate to ask
e baasiev.kostiantyn5/26/2017, 12:25:03 PM
yes
« cavidgitmans/26/2017/, 12:24:58 PM
Do you understand?
e davidgitmans/26/2017, 12:24:55 PM
Do you have any questions?
e davidaltmanS/26/2017, 12:24:48 PM

<partlist type="ended" alt="">

<part identity="bagaiev.kostiantyn">
<name>Konstantyn Bagaiev</name>
<duration>536</duration>

</part>

<part identity="davidgitman">
<name>David Gitman</name>
<duration>536</duration>

</part>

</partlist>

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2:15:47 PM

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iditman5/26

<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>

</partlist>

e bagalev.kostiartynS/26/2017, 12:14:27 PM
<a
href="http://www.appear.in/channelreply">http://www.appear.in/channelreply<
/a>

e bagalev.kostiantyn5/26/2017, 12:13:47 PM
Case 1:17-cv-04327-LLS-RWL Document 180-16 Filed 08/14/20 Page 162 of 171

<partlist type="ended" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
</part>

</partlist>

e bagalev.kostlantyn5/26/2017, 12:13:39 PM

<partlist type="started" alt="">
<part identity="bagaiev.kostiantyn">
<name>Konstantyn</name>
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e = davidgitmanS/26/2017, 12:13:03 PM

<partlist type="ended" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>
</partlist>

e davidgitmans/25/2017, 12:13:02 PM
<partlist type="started" alt="">
<part identity="davidgitman">
<name>David Gitman</name>
</part>
</partlist>
Case 1:17-cv-04327-LLS-RWL Documen t 180-16 Filed 08/14/20 Page 163 of 171

ACCOUNTING
DOCUMENTS

 
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Issues identified after a review of the documents received:

The profit and loss statement per QuickBooks bears little to no resemblance to tax returns 2012-
2016 for CSV or NDAP

The stockholders equity and the capital accounts for CSV and NDAP, respectively, per
QuickBooks does not agree with the tax returns

Distributions between MD and DG are not equal

There were disbursements made on behalf of MD for which DG did not credit

The income reported for 2017 on QuickBooks does not agree with Charge-Be the payment
processor aggregator for Channel Reply

The inter-company accounts between CSV and DNAP do not agree

A preliminary calculation of value for CSV would be approximately $2,000,000. This estimate of
value is only to be used for discussion purposes and settlement talks. The attached exhibits are
not to be distributed. It does not include any applicable discounts for control or marketability.
| have not performed all the steps required for an opinion of value utilizing the valuation
standards. SSVS #1 — allows us to do a calculation of value for litigation purposes that do not
include all the requirements of an opinion of value. See Exhibits 1-4 attached for our
calculations. Exhibit 3 is the exhibit that calculates value.

The profit and loss statement per QuickBooks bears little to no resemblance to tax returns 2012-2016
for CSV or NDAP

A Forensic accountant cannot rely on the QuickBooks files for a forensic analysis if they do not agree

with the tax returns. A forensic accountant needs to know that the detail being reviewed is correct and
pertains to the subject company.

The following are two charts that compare critical elements of the profit and loss statement as reported
by QuickBooks and the tax returns from 2012-2016 (the last year a tax return is available) for CVS and
2012-2014 for NDAP: NDAP was out of business in 2016 and apparently did not file a 2016 return.
Apparently NDP was reported as part of CVS in 2015.
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Copper Square Ventures

 

 

 

 

 

 

| (00's) ]
2012 2013 2014 2015 2016
Net income Per the QuickBooks $ (20) $ 171 $ 197 $ 244 $ 2,993
Officer Comp per QuickBooks $ - §$ - §$ - § - $ 9
Officer heal insurance per QuickBooks - - $ - $ - $ 18
Net revenue per QuickBooks $ 135 $ 241 $ 206 $ 261 $ 185
Guaranteed Payments From NDAP shown as
Consulting Income on QuickBooks $ 124 $ 227 $ 202 $ 257 $ 8
Net income Per the Books per Tax Returns $ 141 $ 64 S$ 20 S$ (181) $ {52}
Officar Comp per tax returns s - $ 131 $ 159 $ 159 S$ 5
Officer heal Insurance per tax returns $ 7
Net revenue per Tax returns s 5,962 S$ 419
Guaranteed Payments From NDAP per tax
returns S 142 § 219 $ 207
Difference between QuicBooks and Tax
Returns:
Net income Per the Books per Tax Returns $ (161) $ 107 S$ 177: S$ 425 5 55
Officer Comp per tax returns S ~ S$ (131) $ (159) $ (459) $ -
Officer heal Insurance per tax returns $ - $ (7:0} $ - $ - §$ 177
Net revenue per Tax returns $ (5,701) $ (234)
Guaranteed Payments From NDAP $ (18) $ 8 S$ (6)
NDAP
| (00's) |
2012 2013 2014
Net income Per the Books per QuickBooks $ 358 $ 206 $ 69
Guaranteed Payment to CSV per QuickBooks $ 150 $ 220 §$ 200
Net Revenue per QuickBooks $ 2,177 $ 4,021 $ 5,720
Gross Profit per QuickBooks $ 792 $ 1,202 $ 14,499
Gross profit Percentage 36% 30% 26%
Net income Per the Books per Tax Returns S (18) $ (97) $ (128)
Guaranteed Payment to CSV per Tax Returns S 150 5 220 S$ 196
Net Revenue per Tax Returns 5 2,151 $ 4,011 $ 5,734
Gross Profit per Tax Returns S 44g $ 21,045 § 2,281
Gross profit Percentage 21% 26% 40%
Difference Between QuickBooks and Tax Returns:
Net income Per the Books per Tax Returns S 376 $ 303 $ 197
Guaranteed Payment to CSV per QuickBooks S os (0} $ 4
Sales $ 26 $ 10 $ (14)
Gross Profit $ 344 S$ 157 $ (782)
Gross profit Percentage 16% 4% -14%
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The stockholders’ equity and the capital accounts for CSV and NDAP, respectively, per QuickBooks
does not agree with the tax returns

As with the profit and loss statements, the differences between the balance sheets per QuickBooks and
the Tax Returns indicate is just another example of why you cannot rely on either the QuickBooks or Tax
Returns. The tax returns did not report balance sheets for CSV. However, they do report the-
Accumulated Adjustment Account, Other Adjustments Account and Shareholders' Undistributed Taxable
Income Previously Taxed which in CSVs case would indicate the approximate shareholders’ equity.

The following is a table that shows the differences for CSV:

 

 

 

 

[ (000s) |
2012 2013 2014 2015 2016

Shareholders’ Equity per QuickBooks $ (18) $ 152 $ 329 $ 541 $ 536
Accumulated Adjustment Account, Other
Adjustments Account and Shareholders’
Undistributed Taxable Income Previously
Taxed $ - S 12 $ 13 «$ (168) $ (221)
Difference between Equity and the AAA S (19) $ 140 5S 316 $ 709 $ 757

 

The following is a table that shows the differences for NDAP:

 

 

 

 

| (000s) |
2012 2013 2014
Partners’ Capital Accounts per QuickBooks $ 397 $ 604 $ 461
Partner Capital Accounts per Tax Return S (35) $ (132) $ {259)
Difference between Capital Accounts per Tax Returns and
total Equity $ 432 S$ 736 = $ 720

 

Distributions between MD and DG are not equal

In 2016 the QuickBbooks files that include the balance sheet and cumulative general ledger report that
MD got $20,000 while DG received $10,000.

In addition the tax returns show no distributions were made for 2016.

There were disbursements made on behalf of MD for which DG did not credit

The QuickBook disbursement files indicate that in 2013 there was a “Michael Dardashtian CSV 401K”
payment for $13,500.

there DG did not get a corresponding benefit.

QuickBooks files indicate that there was health insurance of $17,635 paid. As DG and MD were the only
ones for which this could have applied, and DG said it was not for him, it is apparent that is was for MD.
DG did not get a corresponding benefit.
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In 2013 the tax returns indicated that there was approximately $7,000 of health insurance paid. DG
indicated it was not him that received the coverage. As MD would be the only other individual that it
could have been for, this is another benefit that MD got that EDG did not.

The income reported for 2017 on QuickBooks does not agree with Charge-Be the payment processor
aggregator for Channel Reply

DG provided a statement from Charge-Be that there were $447,000 of net revenue generated on the
internet for Channel Reply. The QuickBooks profit and loss statements is only reporting $343,000.

According to DG the $447,000 that Charge-Be reports is what was collected for Channel Reply. It should
be noted that the 2017 1099 from Stripe one of the processors included in the Charge-Be amount was
$274,917.

The inter-company accounts between CSV and DNAP do not agree

Inter-company accounts are a way for related parties to pay and receive funds on behalf of another. If
the inter-company accounts do not agree then the income or expenses on one or the other company
will not be correct, and their books would not include all their business activity.

For Example: If NDAP paid $100,000 of expenses for CSV, then CSV has to pick a liability to NDAP. lf they
do not show this liability to NDAP then CSV did not pick up expenses paid for them by NDAP

The QuickBooks files show the following differences between CSV and NDAP:

2016 2017
Inter-company with NDAP on CSV's QBs,
a liability $ (44) $ (12)

Inter-company with CSV on NDAP's QBs,
a receivable S 20 «S$ 20
Difference $ (24) $ 8
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trl pot L7Z' Srl sasuadxs Burjeasdo [B10],
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- %0'0 jeirdeo Supyiom yseouoU sa.J-jQop UI seBuByD ‘say (2)
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Case 1

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‘saved XB] StOOUT aywodioo ayeys puw yeIopay papuaiq paeumsy (8)

‘giqeoydde you st jap Jo soo oy) ‘MOL Ysed BuO Woy suOTeIado souRUY 0} psoadxea st Aurdwopzapsy Q)

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